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                             United States District Court
                                     EASTERN DISTRICT OF TEXAS
                                         SHERMAN DIVISION

  TEXAS TOP COP SHOP, INC., ET AL.,                   §
                                                      §
                    Plaintiffs,                       §
                                                      §
  v.                                                  §    Civil Action No. 4:24-CV-478
                                                      §    Judge Mazzant
  MERRICK GARLAND, ATTORNEY                           §
  GENERAL OF THE UNITED STATES,                       §
  ET AL.,                                             §
                                                      §
                   Defendants.                        §

                    AMENDED MEMORANDUM OPINION AND ORDER

         Pending before the Court is Plaintiffs’ Motion for Preliminary Injunction (Dkt. #6).

 Through it, Plaintiffs seek to enjoin the Government from enforcing the Corporate Transparency

 Act and its Implementing Regulations. Having considered the Motion, the arguments of counsel,

 and the applicable law, the Court concludes that the Motion should be GRANTED.

         “Great nations, like great men, should keep their word.” Fed. Power Comm’n v. Tuscarora

 Indian Nation, 362 U.S. 99, 142 (1960) (Black, J., dissenting). Ours is a written Constitution. The

 promises it makes to the People and the States alike are not hidden. The Court must enforce them.

 “The powers of the legislature are defined, and limited: and . . . those limits may not be mistaken,

 or forgotten, the [C]onstitution is written.” Marbury v. Madison, 5 U.S. 137, 176 (1803). While the

 Court defers to Congress on matters of policy, interpretation of the Constitution is an area where

 Congress enjoys no authority. Florida Dept. of Revenue v. Piccadilly Cafeterias, Inc., 554 U.S. 33

 (2008) (“[I]t is not for [the Court] to substitute [its] view of . . . policy for the legislation which has

 been passed by Congress.”); Marbury, 5 U.S. at 177. Legislative ingenuity, dispatched to meet
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 today’s problems, is not measured by any other standard than our written Constitution. Modern

 problems may well warrant modern solutions, but modernity does not grant Congress a roving

 license to legislate outside the boundaries of our timeless, written Constitution. See, e.g., Louisiana

 v. Biden, 55 F.4th 1017, 1032 (5th Cir. 2022) (“The Constitution is not abrogated[, even] in a

 pandemic.”). The Constitution must stand firm.

        In the matter before the Court, Plaintiffs challenge an unprecedented law known as the

 Corporate Transparency Act (“CTA”). It represents Congress’s attempt to combat bad actors’

 ability to cloak their criminal activities in a veil of corporate anonymity. At its most rudimentary

 level, the CTA regulates companies that are registered to do business under a State’s laws and

 requires those companies to report their ownership, including detailed, personal information about

 their owners, to the Federal Government on pain of severe penalties. Though seemingly benign,

 this federal mandate marks a drastic two-fold departure from history. First, it represents a Federal

 attempt to monitor companies created under state law—a matter our federalist system has left

 almost exclusively to the several States. Second, the CTA ends a feature of corporate formation as

 designed by various States—anonymity. For good reason, Plaintiffs fear this flanking, quasi-

 Orwellian statute and its implications on our dual system of government. As a result, Plaintiffs

 contend that the CTA violates the promises our Constitution makes to the People and the States.

 Despite attempting to reconcile the CTA with the Constitution at every turn, the Government is

 unable to provide the Court with any tenable theory that the CTA falls within Congress’s power.

 And even in the face of the deference the Court must give Congress, the CTA appears likely

 unconstitutional. Accordingly, the CTA and its Implementing Regulations must be enjoined.




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                                                BACKGROUND

I.   The Corporate Transparency Act

          This case begins and ends with the CTA. The constitutionality of the CTA and its

 accompanying regulations is an issue of first impression in the Fifth Circuit. Thus, this case

 necessitates a robust explanation of the CTA. In January of 2021, Congress passed the William M.

 (Mac) Thornberry National Defense Authorization Act for Fiscal Year 2021 (“NDAA”). Pub. L.

 No. 116-283. Congress included the Anti-Money Laundering Act of 2020 (“AMLA”) in the

 NDAA. Pub. L. No. 116-283, div. F, 134 Stat. 4547 (2021).

          The AMLA’s stated purposes are many. First, through the AMLA, Congress sought “to

 improve coordination and information sharing among the agencies tasked with administering anti-

 money laundering . . . requirements.” Id. § 6002(1). Second, in passing the AMLA, Congress

 sought “to modernize anti-money laundering and countering the financing of terrorism laws.” Id.

 6002(2). Third, the AMLA seeks “to encourage technological innovation and the adoption of new

 technology by financial institutions to more effectively counter money laundering and the financing

 of terrorism.” Id. § 6002(3). Fourth, Congress designed the AMLA to “reinforce that the anti-

 money laundering” and terrorism financing “policies, procedures, and controls of financial

 institutions shall be risk-based.” Id. § 6002(4). Fifth, and most importantly as it relates to the CTA,

 Congress intended the AMLA “to establish uniform beneficial ownership information reporting

 requirements” to further four ends: (1) “transparency . . . concerning corporate structures and

 insight into the flow of illicit funds through those structures”; (2) “discourag[ing] the use of shell

 corporations1 as a tool to disguise and move illicit funds”; (3) “assist[ing] national security,


 1
   “Shell companies” are entities “that have no physical presence beyond a mailing address, generate little to no
 independent economic value, and generally are created without disclosing their beneficial owners.” 87 Fed. Reg. at 59

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 intelligence, and law enforcement with the pursuit of crimes”; and (4) “protect[ing] the national

 security of the United States.” Id. § 6002(5). The sixth and final stated purpose of the AMLA is

 to “establish a secure, nonpublic database at FinCEN2 for beneficial ownership information.” Id.

 § 6002(6).

         Nestled between the 1,482 pages of the NDAA lays the CTA. 134 Stat. at 4604–625

 (codified as amended at 31 U.S.C. § 5336). In short, the CTA requires a vast array of companies to

 disclose otherwise private stakeholder information to FinCEN. See 31 U.S.C. § 5336(b)(1).

 Congress compels these disclosures to control financial crime. Indeed, the CTA says as much. See

 NDAA § 6402. Because text reigns supreme in statutory interpretation, rather than summarize the

 CTA’s purpose, it is wiser to grasp the CTA’s objectives from its plain text. See Carter v. United

 States, 530 U.S. 255, 271 (2000). The CTA provides that “it is the sense of Congress” that:

         (1) more than 2,000,000 corporations and limited liability companies are being
             formed under the laws of the States each year;

         (2) most or all States do not require information about the beneficial owners of the
             corporations, limited liability companies, or other similar entities formed under
             the laws of the State;

         (3) malign actors seek to conceal their ownership of corporations, limited liability
             companies, or other similar entities in the United States to facilitate illicit
             activity, including money laundering, the financing of terrorism, proliferation
             financing, serious tax fraud, human and drug trafficking, counterfeiting, piracy,
             securities fraud, financial fraud, and acts of foreign corruption, harming the
             national security interests of the United States and the allies of the United
             States;

         (4) money launderers and others involved in commercial activity intentionally
             conduct transactions through corporate structures in order to evade detection,

 501. Thus, according to Congress, shell companies “can be used to conduct financial transactions while concealing
 [the] true beneficial owners’ involvement.” Id.
 2
  “FinCEN” is an abbreviation for the enforcement arm of the Department of the Treasury called the “Financial
 Crimes Enforcement Network.”

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             and may layer such structures, much like Russian nesting “Matryoshka” dolls,
             across various secretive jurisdictions such that each time an investigator obtains
             ownership records for a domestic or foreign entity, the newly identified entity is
             yet another corporate entity, necessitating a repeat of the same process;

         (5) Federal legislation providing for the collection of beneficial ownership
             information for corporations, limited liability companies, or other similar
             entities formed under the laws of the States is needed to—

             A. set a clear, federal standard for incorporation practices;

             B. protect vital United States national security interests;

             C. protect interstate and foreign commerce;

             D. better enable critical national security, intelligence, and law enforcement
                efforts to counter money laundering, the financing of terrorism, and other
                illicit activity; and

             E. bring the United States into compliance with international anti-money
                laundering and countering the financing of terrorism standards.

         (6) beneficial ownership information collected under the amendments made by this
             title is sensitive information and will be directly available only to authorized
             government authorities, subject to effective safeguards and controls to—

                 A. facilitate important national security, intelligence, and law enforcement
                    activities; and

                 B. confirm beneficial ownership information provided to financial
                    institutions to facilitate the compliance of the financial institutions with
                    anti-money laundering, countering the financing of terrorism, and
                    customer due diligence requirements under applicable law.

 NDAA § 6402.

         In service of these admirable ends, the CTA regulates “reporting companies.” 31 U.S.C.

 § 5336(b). Under the CTA, a “reporting company” is a “corporation, limited liability company,

 or other similar entity that is created by the filing of a document with a secretary of state or a similar

 office under the law of a State or Indian Tribe or formed under the law of a foreign country and

 registered to do business in the United States by the filing of a document with a secretary of state

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 or a similar office under the law of a State or Indian Tribe.” Id. § 5336(a)(11). The CTA’s text

 excludes from the definition of “reporting companies” several types of entities, including but not

 limited to political organizations as defined in Section 527(e)(1) of the Internal Revenue Code.

 See id. § 5336(a)(11)(B). These reporting companies must “submit to FinCEN a report” that

 “identif[ies] each beneficial owner of . . . the reporting company . . . by full legal name, date of

 birth, current . . . residential or business street address, and [a] unique identifying number from

 an acceptable identification document or FinCEN identifier.” Id. § 5336(b)(2).3

            The CTA defines the term “beneficial owner” as “an individual who, directly or indirectly,

 through any contract, arrangement, understanding, relationship, or otherwise, exercises

 substantial control over the entity; or owns or controls not less than [twenty-five] percent of the

 ownership interests of the entity.” Id. § 5336(a)(3)(A). The CTA excepts from “beneficial owner”

 status those who are minors, persons acting on behalf of another individual such as agents and

 custodians, employees, those whose only interest in the company is through a right of inheritance,

 and creditors. Id. § 5336(a)(3)(B). In turn, an “acceptable identification document” is a

 nonexpired: (1) United States Passport; (2) identification document issued by a State, local

 government, or Indian Tribe for purposes of identification; (3) driver’s license issued by a State;

 or (4) a passport issued by a foreign government, if the individual in question does not have any of

 the previous forms of identification. Id. § 5336(a)(1). The term “unique identifying number” refers

 to “the unique identifying number from an acceptable identification document”—i.e., a passport

 number or the like. Id. § 5336(a)(13). Finally, while the CTA itself does not define “substantial

 control,” the final rule implementing the CTA, (the “Reporting Rule”) does. Under the Reporting



 3
     Reporting companies can file BOI reports for free through FinCEN’s website.

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 Rule, “substantial control” means: (1) serving as a “senior officer of the reporting company”;

 (2) having authority to hire and fire senior officers, the majority of the board of directors, or a

 similar body; or (3) directing, determining, or having substantial influence over “important

 decisions made by the reporting company.” 31 C.F.R. § 1010.380(d)(1). Further, “any other form

 of substantial control over the reporting company” constitutes “substantial control,” under the

 Reporting Rule, be it direct or indirect. Id. § 1010.380(d)(1)(i)(D), (d)(1)(ii).

        The CTA delegates authority to the Secretary of the Treasury to establish an effective date

 for filing and updating beneficial ownership information reports and to promulgate regulations

 regarding these reports. Id. § 5336(b)(1). Pursuant to that authority, FinCEN’s regulations state

 that “any domestic reporting company created before January 1, 2024, and any entity that became

 a foreign reporting company before January 1, 2024[,] shall file a report not later than January 1,

 2025.” Reports of Beneficial Ownership Information, 31 C.F.R. § 1010.380(a)(1)(iii) (2024). The

 remainder of FinCEN’s regulations give teeth to the CTA as codified. Compare 31 U.S.C. § 5336

 with 31 C.F.R. §1010.380.

        Under the Reporting Rule, the content of a reporting company’s beneficial owner report

 must include the legal name of the company, that company’s trade names, the address of its

 principal place of business or primary location in the United States, the State, Tribal, or foreign

 jurisdiction of the company’s formation, and the company’s Internal Revenue Services Taxpayer

 Identification Number. 31 C.F.R. § 1010.380(b)(1)(i). Further, the report must include the full

 legal name of each beneficial owner of the company, their date of birth, their business or residential

 address, their unique identifying number from an approved identification document, and a




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 photograph of that document. Id. § 1010.380(b)(1)(ii). Covered entities have a continuing

 obligation to update their beneficial owner reports. Id. § 1010.380(b)(3).

        FinCEN “shall . . . maintain[]” this information for at least five years after “the date on

 which the reporting company terminates.” 31 U.S.C. § 5336(c)(1). The CTA permits FinCEN to

 disclose any beneficial ownership information upon request from state, local, federal, or

 international law enforcement entities. 31 U.S.C. § 5336(c)(2). The CTA also mandates that

 FinCEN take certain precautions with the beneficial ownership information to avoid inappropriate

 disclosure of that information. 31 U.S.C. § 5336(c)(2)(C).

        Failure to comply with the CTA is fraught with peril. The CTA makes it illegal to:

 (1) “willfully provide, or attempt to provide, false or fraudulent beneficial ownership

 information”; and (2) “willfully fail to report complete or updated beneficial ownership

 information.” 31 U.S.C. § 5336(h)(1). Any individual who is guilty of violating either provision is

 civilly liable and may be fined up to $500 a day for each day that “the violation continues or has

 not been remedied.” Id. § 5336(h)(3)(A)(i). Further, any individual who is guilty of violating either

 provision may be incarcerated for up to two years and fined up to $10,000. Id. § 5336(h)(3)(A)(ii).

 The CTA also proscribes unauthorized disclosure of beneficial ownership information and subjects

 any person who knowingly discloses such information without authorization to criminal and civil

 penalties. Id. §§ 5336(h)(2), (h)(3)(B).

        According to FinCEN, the CTA “will have a significant economic impact on a substantial

 number of small entities.” Beneficial Ownership Information Reporting Requirements, 87 Fed.

 Reg. 59498, 59550 (Sept. 30, 2022). “FinCEN estimates that there will be approximately 32.6




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 million existing reporting companies[,] and 5 million new reporting companies formed each year.”

 Id. at 59585. Further,

        [a]ssuming that all reporting companies are small businesses, the burden hours for
        filing BOI [(beneficial ownership information)] reports would be 126.3 million in
        the first year of the reporting requirement (as existing small businesses come into
        compliance with the rule) and 35 million in the years after. FinCEN estimates that
        the total cost of filing BOI reports is approximately $22.7 billion in the first year and
        $5.6 billion in the years after.

 Id. at 59585–86. Per company, “FinCEN estimates it would cost . . . approximately $85.14–

 $2,614.87 each to prepare and submit an initial report for the first year that the BOI reporting

 requirements are in effect.” Id. at 59586. Finally, “FinCEN estimates it would cost approximately

 $37.84–$560.81 for entities to file updated BOI reports.” Id. According to FinCEN, these

 estimates include “professional expertise that will be sought out to comply with the reporting

 requirements” such as lawyers and accountants. Id.

  II.   The Parties

        There are six plaintiffs in this case, comprised of one private individual and five entities.

 First, Texas Top Cop Shop, Inc. (“TTCS”) is a family-run, Texas corporation that maintains its

 principal place of business and all of its operations in Conroe, Texas (Dkt. #1 at p. 5). Since 2017,

 TTCS has sold equipment to first responders out of its single storefront in Conroe (Dkt. #1 at p.

 16). In addition, TTCS is a licensed dealer of firearms (Dkt. #1 at p. 16). TTCS does not transact

 any business through the internet, nor does it sell its merchandise outside of Texas (Dkt. #1 at p.

 16). Only four employees, including the owners, work at TTCS (Dkt. #1 at p. 16). Though TTCS

 has determined on its own that it is a reporting company under the CTA, to date, it has not filed a

 beneficial ownership report with FinCEN (Dkt. #1 at p. 17).




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        The second plaintiff, Data Comm for Business, Inc. (“Data Comm”), is a Delaware

 corporation that operates in both Illinois and Texas (Dkt. #1 at p. 17). It is also registered with the

 Illinois Secretary of State to engage in business as a foreign corporation (Dkt. #1 at p. 17). Data

 Comm provides small business, individuals, utility companies, and federal agencies with

 “technical support, information technology, and communications products” (Dkt. #1 at p. 17). It

 employs ten individuals (Dkt. #1 at p. 18). Like TTCS, while Data Comm has determined that it is

 a reporting company subject to the CTA’s disclosure requirements, it has yet to file a beneficial

 ownership report with FinCEN (Dkt. #1 at p. 18). Further, Data Comm advocates for the repeal of

 the CTA as a corporation to protect the privacy of its beneficial owners (Dkt. #1 at p. 18).

        The third plaintiff, Russel Straayer (“Straayer”), is an individual who resides in Conroe,

 Texas and is closely tied to Data Comm—the company for which he serves as Chief Executive

 Officer (Dkt. #1 at pp. 18–19). He has determined that he is a beneficial owner of Data Comm,

 though he is not the only beneficial owner of Data Comm (Dkt. #1 at p. 19). Straayer claims that he

 is a beneficial owner of additional reporting companies not involved in this case (Dkt. #1 at p. 19).

 Though Straayer is an outspoken opponent of the CTA, one of the reporting companies of which

 Straayer is a beneficial owner “does not wish to be associated with” his position against the CTA

 (Dkt. #1 at p. 19). Straayer has not filed a report with FinCEN (Dkt. #1 at p. 19).

        The fourth plaintiff is Mustardseed Livestock, LLC (“Mustardseed”) (Dkt. #1 at. p. 19).

 Mustardseed is a Wyoming limited liability company that has operated as a small dairy farm

 exclusively in Lingle, Wyoming since 2020 (Dkt. #1 at p. 19). It does not transact interstate

 business (Dkt. #1 at p. 20). While it generally produces dairy products for its own use, it

 “occasionally sells surplus raw milk” to Wyoming customers (Dkt. #1 at p. 20). In 2023,



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 Mustardseed’s gross income from surplus milk sales did not exceed $30,000, and its projected

 income from all of its offerings will not exceed $50,000 (Dkt. #1 at p. 20). Though it has

 determined that it is a reporting company under the CTA, to date, it has not filed a beneficial

 ownership report (Dkt. #1 at p. 20). Like Data Comm, Mustardseed advocates for the repeal of the

 CTA as a corporate entity in to protect its beneficial owners’ privacy (Dkt. #1 at p. 20).

        The fifth plaintiff is the Libertarian Party of Mississippi (“MSLP”) (Dkt. #1 at p. 21).

 MSLP dubs itself a “political organization,” though it notes that it is not classified as such under

 § 527 of the Internal Revenue Code (Dkt. #1 at pp. 21–22). Therefore, by its own admission, it is a

 reporting company under the CTA (Dkt. #1 at pp. 21–22). MSLP is organized under Mississippi

 law and is registered with the Mississippi Secretary of State as a nonprofit corporation (Dkt. #1 at

 pp. 21, 23). It has no physical office (Dkt. #1 at p. 22). Instead, it relies on its members to conduct

 its activities (Dkt. #1 at p. 22). The members of MSLP “seek to advance the platform of the

 National Libertarian Party within the State of Mississippi” (Dkt. #1 at p. 21). Thus, MSLP and its

 members advocate for a plethora of positions on political issues and ideals (Dkt. #1 at p. 21). One

 such issue is the CTA, which MSLP advocates against (Dkt. #1 at p. 22). Because it operates as a

 political organization, individuals and entities alike donate to MSLP (Dkt. #1 at p. 22). In turn,

 MSLP uses those donations to promote its political agendas (Dkt. #1 at p. 22). MSLP has “less

 than $20,000 in assets,” which are the product of donations used only for political expenditures

 (Dkt. #1 at p. 22). None of these expenditures promote activities out of the state of Mississippi,

 and MSLP does not engage in any economic activity outside of Mississippi (Dkt. #1 at p. 23). Like

 its co-plaintiffs, MSLP has not filed a beneficial owner report with FinCEN (Dkt. #1 at p. 23).




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        The sixth and final Plaintiff—the National Federation of Independent Business

 (“NFIB”)—is distinct from its co-plaintiffs in that it is an organization suing on behalf of its

 members, who are not a party to this lawsuit (Dkt. #1 at p. 24). NFIB is a tax-exempt organization

 under § 501(c) of the Internal Revenue Code (Dkt. #1 at p. 24). Thus, the CTA does not compel

 it to file a report with FinCEN (Dkt. #1 at p. 24). Approximately 300,000 members comprise NFIB

 (Dkt. #1 at p. 24). TTCS and Data Comm—both of which are plaintiffs here—are members of

 NFIB (Dkt. #1 at p. 24). NFIB also notes that its members include companies like Grazing Systems

 Supply, Inc. (“Grazing Systems Supply”) a Louisiana corporation with its principal place of

 business in Batesville, Indiana (Dkt. #1 at p. 24). Grazing Systems Supply is a family-run

 agricultural supply business with five employees that must comply with the CTA (Dkt. #1 at p. 24).

 NFIB and its members advocate against the CTA, and NFIB has publicly argued for its repeal on

 behalf of its members (Dkt. #1 at p. 24).

        None of the five individual Plaintiffs here have filed beneficial ownership reports with

 FinCEN (Dkt. #1 at pp. 17–24). Further, each Plaintiff claims that if enforcement of the CTA is

 not enjoined, Plaintiffs’ obligations under the CTA would compel them to incur compliance costs

 and would violate their constitutional rights (Dkt. #1 at pp. 17–24).

        Defendants are comprised of several United States representatives and the governmental

 entities that they serve. First, Defendant Merrick Garland is the United States Attorney General

 who Plaintiffs sue in his official capacity, as he is responsible for the administration and

 enforcement of United States federal criminal law, including the CTA (Dkt. #1 at p. 6). Second,

 Defendant Janet L. Yellen is the United States Secretary of the Treasury, who Plaintiffs sue in her

 official capacity as the head of the U.S. Department of the Treasury (Dkt. #1 at p. 6). Plaintiffs also



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 sue Defendant U.S. Department of the Treasury, an agency under the Executive Branch that

 administers and enforces the CTA and its accompanying regulations (Dkt. #1 at p. 6). Fourth,

 Defendant Andrea Gacki is the Director of FinCEN, who Plaintiffs sue in her official capacity as

 the head of FinCEN (Dkt. #1 at p. 6). Finally, Plaintiffs sue Defendant FinCEN as a bureau of a

 federal agency that administers and enforces the CTA and its implementing regulations (Dkt. #1

 at p. 6). Collectively, the Court refers to Defendants as “the Government.”

  III.   Procedural History

         On May 28, 2024, Plaintiffs initiated this lawsuit seeking a declaratory judgement that the

 CTA is unconstitutional and an injunction against its enforcement (Dkt. #1). On June 3, 2024,

 Plaintiffs moved the Court to enter a preliminary injunction against enforcement of the CTA and

 Reporting Rule (Dkt. #6). On June 26, 2024, Defendants responded, opposing the issuance of any

 injunctive relief (Dkt. #18). Plaintiffs replied, maintaining that a preliminary injunction is

 warranted (Dkt. #19). On September 24, 2024, Defendants notified the Court of supplemental

 persuasive authority: Firestone v. Yellen, No. 3:24-cv-1034-SI, 2024 WL 4250192, (D. Or. Sept. 20,

 2024) (Dkt. #22). After the Court set this matter for a hearing, the parties jointly filed stipulations

 that negated the need to call witnesses at the hearing (Dkt. #24). On October 9, 2024, the Court

 heard the arguments of counsel. Finally, on October 24, 2024, Defendants notified the Court of

 further supplemental persuasive authority: Cmty. Ass’ns Inst. v. Yellen, No. 1:24-cv-1597, 2024 WL

 4571412 (E. D. Va. Oct. 24, 2024) (Dkt. #27).

                                        LEGAL STANDARD

         “A preliminary injunction is an extraordinary remedy never awarded as of right.” Winter

 v. Nat. Res. Def. Council, 555 U.S. 7, 24 (2008). A party seeking a preliminary injunction must



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 establish four elements: (1) a substantial likelihood of success on the merits; (2) a substantial threat

 that they will suffer irreparable harm absent injunctive relief; (3) that the threatened injury

 outweighs any damage that the injunction might cause the defendant; and (4) that the injunction

 will not harm the public interest. Nichols v. Alcatel USA, Inc., 532 F.3d 364, 372 (5th Cir. 2008).

 “A preliminary injunction . . . should only be granted if the plaintiffs have clearly carried the burden

 of persuasion on all four requirements.” Id. Nevertheless, a movant “is not required to prove his

 case in full at a preliminary injunction hearing.” Fed. Sav. & Loan Ins. Corp. v. Dixon, 835 F.2d 554,

 558 (5th Cir. 1987) (quoting Univ. of Tex. v. Comenisch, 451 U.S. 390, 395 (1981)). The decision of

 whether to grant a preliminary injunction lies within the sound discretion of the district court.

 See Weinberger v. Romero-Barcelo, 456 U.S. 305, 320 (1982).

                                              ANALYSIS

         Plaintiffs challenge the CTA on several grounds. Namely, Plaintiffs assert that the CTA is

 unconstitutional both facially and as applied because: (1) the CTA intrudes upon States’ rights

 under the Ninth and Tenth Amendments; (2) the CTA compels speech and burdens Plaintiffs’

 right of association under the First Amendment; and (3) the CTA violates the Fourth Amendment

 by compelling disclosure of private information (Dkt. #1 at pp. 25–31). For each of these reasons,

 independently and collectively, Plaintiffs assert that FinCEN’s Reporting Rule, which implements

 the CTA, is also unconstitutional and should be set aside under § 706 of the Administrative

 Procedure Act (“APA”) (Dkt. #1 at p. 31).

         Whether the CTA and the Reporting Rule are absolutely unconstitutional is a question for

 another day. Today, it is enough for the Court to determine whether Plaintiffs have demonstrated

 a substantial likelihood of success on the merits of any of their claims, in addition to satisfying the



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 three additional elements necessary for a preliminary injunction. See Nichols, 532 F.3d at 372.

 Before the Court can reach the merits of Plaintiffs’ arguments, it must dispense with two threshold

 matters. Namely, the Court must perform a dual-pronged standing inquiry. First, it must assess

 whether the individual Plaintiffs have standing. Second, the Court must ensure that NFIB has

 associational standing to participate in this litigation on behalf of its members.

  I.    Standing

        “A preliminary injunction, like final relief, cannot be requested by a plaintiff who lacks

 standing to sue.” Speech First, Inc. v. Fenves, 979 F.3d 319, 329 (5th Cir. 2020). Though Defendants

 do not contest that Plaintiffs have standing, “it is well established that [the Court] has an

 independent obligation to assure that standing exists, regardless of whether it is challenged by any

 of the parties.” Summers v. Earth Island Inst., 555 U.S. 488, 499 (2009). Here, Plaintiffs consist of

 both individuals and an association. While an individual’s standing is an independent legal inquiry,

 whether an organization has standing hinges in part on whether its members alone would have

 standing. See Ctr. for Biological Diversity v. United States Env’t Prot. Agency, 939 F.3d 533, 536 (5th

 Cir. 2019). Because two of the individual Plaintiffs here are members of NFIB, the associational

 standing inquiry builds off of the individual standing assessment to some extent. Thus, the Court

 first asks whether each individual Plaintiff has standing. Then, the Court will assess whether NFIB

 has standing. For the reasons that follow, the Court concludes that every Plaintiff has standing.

        A.      Individual Standing

        “Federal courts are courts of limited jurisdiction. They possess only that power authorized

 by Constitution and statute.” Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1993).

 Article III of the United States Constitution mandates that federal courts may only hear “Cases”

 and “Controversies.” U.S. CONST. art. III, § 2. “The doctrine of standing gives meaning to these

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 constitutional limits by ‘identifying those disputes which are appropriately resolved through the

 judicial process.’” Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992) (quoting Whitmore

 v. Arkansas, 495 U.S. 149, 155 (1990)). Thus, Article III standing is a “bedrock constitutional

 requirement.” United States v. Texas, 599 U.S. 670, 675 (2023). A matter is only justiciable if a

 plaintiff establishes every element of standing. See id.

         To establish standing, an individual plaintiff must satisfy the “familiar three-part test”

 under Article III. Gill v. Whitford, 585 U.S. 48, 65 (2018). The plaintiff must have: “‘(1) suffered

 an injury in fact, (2) that is fairly traceable to the challenged conduct of the defendant, and (3) that

 is likely to be redressed by a favorable judicial decision.’” Career Colls. & Schs. of Tex. v. United

 States Dep’t of Educ., 98 F.4th 220, 234 (5th Cir. 2024) (quoting Gill, 585 U.S. at 65); Summers,

 555 U.S. at 493. These requirements “constitute ‘an essential and unchanging part of the case-or-

 controversy requirement of Article III.’” FDA v. All. for Hippocratic Med., 602 U.S. 367, 380

 (2024) (quoting Lujan, 504 U.S. at 560)). The party invoking federal jurisdiction carries the burden

 of establishing that they have standing. Id. at 561. And because the elements of standing “are not

 mere pleading requirements but rather an indispensable part of the plaintiff’s case, each element

 must be supported . . . with the manner and degree of evidence required at the successive stages of

 litigation.” Lujan, 504 U.S. at 562. A court may only issue a preliminary injunction if the plaintiff

 makes a “clear showing that the plaintiff is entitled to such relief.” Tex. Democratic Party v. Abbott,

 978 F.3d 168, 178 (5th Cir. 2020) (quoting Barber v. Bryant, 860 F.3d 345, 352 (5th Cir. 2017)).

 Thus, at this stage, “[P]laintiffs must make a ‘clear showing’ of standing to maintain the

 injunction.” Id. Plaintiffs have met that burden here.




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         1.      Injury in Fact

         The first element of standing is an injury in fact. Gill, 585 U.S. at 65. An alleged injury must

 meet three requirements to constitute an injury in fact. First, the injury must be “‘concrete,’

 meaning that it must be real and not abstract.” FDA, 602 U.S. at 381 (quoting TransUnion LLC

 v. Ramirez, 594 U.S. 413, 424 (2021)). Second, the injury must be “particularized.” Lujan, 504

 U.S. at 560, n.1. That is, “the injury must affect ‘the plaintiff in a personal and individual way’ and

 not be a generalized grievance.” FDA, 602 U.S. at 381 (quoting id.). To demonstrate, the Supreme

 Court has noted that “[a]n injury in fact can be a physical injury, a monetary injury, an injury to

 one’s property, or an injury to one’s constitutional rights, to take a few common examples.” Id.

 Third and finally, the injury must be “actual or imminent, not speculative—meaning that the

 injury must have already occurred or be likely to occur soon.” Id. (citing Clapper v. Amnesty Int’l

 USA, 568 U.S., 398, 420–22 (2013)). In cases such as this one, “when a plaintiff seeks prospective

 relief such as an injunction, the plaintiff must establish a sufficient likelihood of future injury.” Id.

         With this in mind, a plaintiff may challenge a federal statute before it has been enforced if

 they can “demonstrate a realistic danger of sustaining a direct injury [from the federal statute’s]

 enforcement.” Babbit v. United Farm Workers Nat’l Union, 442 U.S. 298, 298 (1979). This rule

 makes sense, as certainly, Article III’s standing requirements do not require a plaintiff to “expose

 himself to actual arrest or prosecution to be entitled to challenge” the statute. Steffel v. Thompson,

 415 U.S. 452, 459 (1974). Thus, in cases involving pre-enforcement challenges, a plaintiff satisfies

 the injury-in-fact requirement if they “‘intend to engage in a course of conduct arguably affected

 with a constitutional interest, but proscribed by statute, and there exists a credible threat of

 prosecution thereunder.’” Paxton v. Dettelbach, 105 F.4th 708, 711 (5th Cir. 2024) (quoting Susan

 B. Anthony List v. Driehaus, 573 U.S. 149, 159 (2014)).

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         Independently, “‘an increased regulatory burden typically satisfies the injury[-]in[-]fact

 requirement.’” Texas v. Equal Emp. Opportunity Comm’n, 933 F.3d 433, 446 (5th Cir. 2019)

 (quoting Contender Farms, L.L.P. v. U.S. Dep’t of Agric., 779 F.3d 258, 266 (5th Cir. 2015)). As the

 Fifth Circuit has recognized, where a “new Rule requires at least some degree of preparatory

 analysis, staff training, and reviews of existing compliance protocols,” the injury-in-fact

 requirement is satisfied. Career Colls. & Schs. of Tex., 98 F.4th at 234 (internal citation omitted).

 This too makes sense, as “these are precisely the types of concrete injuries that [the Fifth Circuit]

 has consistently deemed adequate to provide standing in regulatory challenges.” Id.

         Here, each of the five individual Plaintiffs have met their burden to satisfy the injury-in-

 fact requirement for two reasons. First, Plaintiffs’ Complaint and Declarations show that they

 “intend to engage in a course of conduct arguably affected with a constitutional interest, but

 proscribed by statute.” See Susan B. Anthony List, 573 U.S. at 159. Specifically, each individual

 Plaintiff has not filed a beneficial ownership information report with FinCEN and refuses to file

 such a report absent a judicial declaration that they must comply with the CTA (See Dkt. #6 at pp.

 17, 18, 19, 21, 24; Dkt. #6-4 at p. 2; Dkt. #6-5 at p. 2; Dkt. #6-6 at p. 4; Dkt. #6-7). Plaintiffs

 recognize that the CTA compels them to tender a BOI report to FinCEN (See Dkt. #6 at pp. 17,

 18, 19, 21, 24; Dkt #6-4 at p. 2; Dkt. #6-5 at p. 2; Dkt. #6-6 at p. 4; Dkt. #6-7). Nonetheless,

 Plaintiffs refuse to do so because they contend that the CTA violates their rights under the First,

 Fourth, Ninth, and Tenth Amendments to the United States Constitution. (See Dkt. #6 at pp. 17,

 18, 19, 21, 24; Dkt. #6-4 at p. 2; Dkt. #6-5 at p. 2; Dkt. #6-6 at p. 4; Dkt. #6-7). The parties agree

 that Plaintiffs’ intended course of action subjects Plaintiffs to criminal and civil liability under the

 CTA (See Dkt. #6 at p. 2; Dkt. #18 at p. 5). And “there is no doubt that the CTA will be applied



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 with its full force.” NSBU v. Yellen, 721 F. Supp. 3d 1260, 1271 (N.D. Ala. 2024). It is axiomatic

 that the Government does not defend the CTA in this litigation simply for the sake of litigating—

 the CTA and its implementing regulations would be aspirational were it not for its robust penalty

 provisions. See 31 U.S.C. § 5336(h). Thus, “the [P]laintiffs’ fear of prosecution [is] not imaginary

 or wholly speculative.” See Susan B. Anthony List, 573 U.S. at 160.4 Accordingly, Plaintiffs have

 clearly established an injury in fact sufficient to satisfy this prong of the standing inquiry.

          Second, the CTA’s enforcement would require Plaintiffs to incur increased regulatory

 burdens, which alone are sufficient to confer standing. See Contender Farms L.L.P., 779 F.3d at 266.

 The CTA and Reporting Rule, by FinCEN’s own admission, will cause reporting companies to

 incur at least some compliance costs. “FinCEN estimates that it will cost the majority of the 32.6

 million domestic and foreign reporting companies that are estimated to exist as of the January 2024

 effective date approximately $85 apiece to prepare and submit an initial [beneficial owner

 information] report.” 87 Fed. Reg. at 59550, 59562. FinCEN also estimates that it will take

 approximately twenty minutes to read a beneficial ownership report form and understand it, thirty

 minutes to collect information about a company’s beneficial owners, and twenty minutes to fill out

 and file the report, resulting in a seventy-minute endeavor. Id. at 59569.5 FinCEN acknowledges,

 however, that the more complex the reporting company’s structure, the greater the costs.

 According to FinCEN, more complicated reporting companies may take at least 650 minutes to

 file a report and incur approximately $2,614.87 in compliance costs. Id. at 59473. Here, Plaintiffs

 confirm that they will incur such compliance costs, among others, if the CTA and Reporting Rule


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  Straayer, as the only Plaintiff who is a natural person, also faces the CTA’s criminal penalty provisions. See 31 U.S.C.
 § 5336(h).
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  But the Court notes that as a practical matter, it takes far longer than seventy minutes simply to read the CTA and
 Reporting Rule alone.

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 are not enjoined (Dkt. #6 at p. 9). These costs are “precisely the types of concrete injuries that

 [the Fifth Circuit] has consistently deemed adequate to provide standing in regulatory challenges.”

 See Career Colls. & Schs. of Tex., 98 F.4th at 234. Thus, Plaintiffs have satisfied the injury-in-fact

 requirement because of the increased regulatory burden that the CTA and Reporting Rule imposes

 on Plaintiffs. See id.

         2.      Causation & Redressability

         The second and third elements of standing—causation and redressability—“are often ‘flip

 sides of the same coin.’” FDA, 602 U.S. at 380–81 (quoting Spring Commc’ns Co. v. APCC Servs.,

 Inc., 544 U.S. 269, 288 (2008)). “If a defendant’s action causes an injury, enjoining the action or

 awarding damages for the action will typically redress that injury.” Id. In cases such as this one,

 where Plaintiffs sue the Government seeking relief from one of its regulations, these two elements

 are “easy to establish.” Id. at 382 (citing Lujan, 504 U.S. at 561–62; Susan B. Anthony List, 573

 U.S. at 162–63). Indeed, “Government regulations that require or forbid some action by the

 plaintiff almost invariably satisfy the . . . causation requirement[].” Id. Because the Government’s

 statute (the CTA) and regulation (the Reporting Rule) aggrieve Plaintiffs, and because the Court’s

 relief may redress Plaintiffs’ alleged injuries, Plaintiffs have satisfied Article III’s causation and

 redressability requirements. See id. Accordingly, the individual Plaintiffs here have standing to

 bring the instant lawsuit.

         B.      Associational Standing

         Having determined that the individual Plaintiffs in this lawsuit have standing, the Court

 now turns to the issue of whether NFIB has associational standing such that it may partake in this

 litigation on behalf of its members. As both the Supreme Court and Fifth Circuit have recognized,

 an association (such as NFIB) has standing to sue on behalf of its members when three elements

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 are satisfied. See Hunt v. Wash. State Apple Advert. Comm’n, 432 U.S. 333, 343 (1977); Ctr. for

 Biological Diversity v. EPA, 937 F.3d 533, 536 (5th Cir. 2019). First, the association’s members must

 “independently meet” Article III’s standing requirements. Hunt, 432 U.S. at 343. Second, the

 interests the association “seeks to protect [must be] germane to the organization’s purpose[.]” Id.

 Third, “neither the claim asserted nor the relief requested [may] require[] the participation of

 individual members in the lawsuit.” Id. Here, all three elements are satisfied.

        First, NFIB’s members appear to independently satisfy Article III’s standing requirements.

 Just like the individual Plaintiffs that filed this lawsuit, NFIB’s members—among whom are TTCS

 and Data Comm—are reporting companies that fall subject to the CTA and Reporting Rule (Dkt.

 #6-7). One additional example is Grazing Systems Supply, which is a reporting company (Dkt. #6-

 7 at p. 2). Just like the individual Plaintiffs discussed above, see supra Section I.A, NFIB’s members

 will incur compliance costs to comply with the CTA (Dkt. #6-7 at p. 2). Similarly, their grievance

 is against the CTA and the Reporting Rule, which are Government regulations (Dkt. #6-7). Thus,

 NFIB’s members individually satisfy Article III’s standing requirements. See Hunt, 432 U.S. at

 343; Ctr. for Biological Diversity, 937 F.3d at 536; FDA, 602 U.S. at 382.

        Second, the interests that NFIB seeks to protect through its participation in this litigation

 are certainly germane to NFIB’s purpose. See Hunt, 432 U.S. at 343. NFIB’s purpose, in large part,

 is to “advocate[] for small businesses” (See Dkt. #6 at p. 9). Accordingly, “NFIB and its members

 oppose the CTA, and NFIB has advocated publicly for its repeal on behalf of its members that must

 comply with the Act and its implementing regulations” (Dkt. #6-7 at p. 2; Dkt. #6-7, Exhibit A).

 The precise interest that NFIB seeks to protect through its participation in this litigation is to

 ensure its members do not need to comply with the CTA and the Reporting Rule—which NFIB



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 and its members contend is unconstitutional (See Dkt. #6-7 at p. 2; Dkt. #6-7, Exhibit A). That is

 pertinent to NFIB’s purpose, especially as FinCEN notes the CTA will impact small businesses.

 See 87 Fed. Reg. at 59550. Thus, the second prong of associational standing is satisfied here.

 See Hunt, 432 U.S. at 343; see also Assoc. of Am. Physicians & Surgeons, Inc., 627 F.3d 547, 551 n.2

 (5th Cir. 2010) (noting that the germaneness prong is low and requires only a “mere pertinence”

 between the litigation at issue and the organization’s purpose).

        Third and finally, the Court asks whether the claim asserted, or the relief requested, would

 require NFIB’s individual members to participate in the lawsuit. See Hunt, 432 U.S. at 343. This

 concern is not constitutional, but prudential. Assoc. of Am. Physicians & Surgeons, 627 F.3d at 550

 (citing United Food & Com. Workers Union Local 751 v. Brown Grp., Inc., 517 U.S. 544, 555 (1996)).

 This final element concerns “matters of administrative convenience and efficiency.” Brown Grp.,

 517 U.S. at 555. In determine whether this prong of the standing analysis is satisfied, courts

 “examin[e] both the relief requested and the claims asserted.” Assoc. of Am. Physicians & Surgeons,

 627 F.3d at 551. While “‘an association’s action for damages running solely to its members would

 be barred for want of the association’s standing to sue,’” where the association seeks declaratory

 or injunctive relief, the third prong is usually satisfied. Id. (quoting Brown Grp., 517 U.S. at 546).

 Here, because NFIB seeks the equitable remedies of injunctive and declaratory relief, there is no

 need for its individual members to participate in the lawsuit. See id. Accordingly, NFIB has satisfied

 its burden to meet Article III’s standing requirements. Thus, the Court may safely continue to the

 merits of the case.

  II.   Plaintiffs’ Challenges to the Corporate Transparency Act and Reporting Rule

        The Court now turns to the question of whether it should issue a preliminary injunction.

 The answer to that question turns on whether Plaintiffs have carried their burden to prove: (1) that

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 the CTA and Reporting Rule substantially threaten Plaintiffs with irreparable harm; (2) a

 substantial likelihood of success on the merits of any of their challenges; (3) that the threatened

 harm outweighs any damage the injunction might have on the Government; and (4) that

 preliminary injunctive relief will not harm the public. See Nichols, 532 F.3d at 372. The Government

 disputes that Plaintiffs have carried their burden to satisfy each element (Dkt. #5 at pp. 7, 10, 29).

 The Court addresses each element seriatim.

        A.      Substantial Threat of Irreparable Harm

        Plaintiffs must demonstrate that they are “likely to suffer irreparable harm in the absence

 of preliminary relief.” Winter, 555 U.S. at 20. Irreparable harm is “‘harm for which there is no

 adequate remedy at law.’” Louisiana v. Biden, 55 F.4th 1017, 1033–34 (5th Cir. 2022) (quoting

 Daniels Health Scis., L.L.C. v. Vascular Health Scis., L.L.C., 710 F.3d 579, 585 (5th Cir. 2013)). In

 the Fifth Circuit, “the nonrecoverable costs of complying with a putatively invalid regulation

 typically constitute irreparable harm.” Rest. Law Ctr. v. United States Dep’t of Lab., 66 F.4th 593,

 597 (5th Cir. 2023). That makes sense, as compliance costs may constitute irreparable injury

 “where they cannot be recovered in the ordinary course of litigation’ Rest. Law Ctr., 66 F.4th at

 597. Such is the case in regulatory challenges and suits against the United States (like this one)

 because the federal government “generally enjoy[s] sovereign immunity for any monetary

 damages.” Wages & White Lion Invs., L.L.C. v. FDA, 16 F.4th 1130, 1142 (5th Cir. 2021). Thus, as

 the Fifth Circuit has recognized time over, “complying with a regulation later held invalid almost

 always produces the irreparable harm of nonrecoverable compliance costs.” Rest. Law Ctr., 66

 F.4th at 597 (quoting Louisiana v. Biden, 55 F.4th at 1034 (citing Texas v. EPA, 829 F.3d 405, 433

 (5th Cir. 2016)) (emphasis in original). To constitute irreparable harm, however, such compliance

 costs “must be more than ‘speculative.” Id. (quoting Texas v. EPA, 829 F.3d at 433). Instead,

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 plaintiffs must have “‘more than an unfounded fear’” of incurring such costs. Id. (quoting Texas

 v. EPA, 829 F.3d at 433). Separately, “[w]hen an alleged deprivation of a constitutional right is

 involved, most courts hold that no further showing of irreparable injury is necessary.” Book People,

 Inc. v. Wong, 91 F.4th 318, 340 (5th Cir. 2024) (quoting Opulent Life Church v. City of Holly Springs,

 697 F.3d 279, 295 (5th Cir. 2012))).

        Here, Plaintiffs allege that the CTA and Reporting Rule, if not enjoined, will irreparably

 harm them in two ways. First, Plaintiffs contend simply that, absent an injunction, they will be

 forced to comply with the CTA and the Reporting Rule (Dkt. #6 at p. 29). As a result, Plaintiffs

 would have to “expend resources” and “spend time and effort to make the required filings” (Dkt.

 #6 at p. 29). In furtherance of their compliance efforts, Plaintiffs aver that they would also incur

 legal expenses (Dkt. #6 at p. 29). Every individual Plaintiff filed a Declaration in which they swore

 that they would incur these costs should the CTA and Reporting Rule remain in force (See Dkt.

 #6-2 at p. 2; Dkt. #6-3 at p. 2; Dkt. #6-4 at p. 2; Dkt. #6-5 at p. 2; Dkt. #6-6 at p. 4). Similarly,

 NFIB filed a Declaration in which it swore that if the CTA and Reporting rule are not enjoined, its

 members would incur compliance costs and legal expenses associated with fulfilling its obligations

 under the CTA and Reporting Rule (Dkt. #6-7 at p. 2). The Government stipulated that the

 Plaintiffs would have testified to the same at the Court’s October 9 hearing should they have

 testified (Dkt. #24).

        The second manner that the CTA and Reporting Rule allegedly threaten Plaintiffs with

 irreparable harm is that the CTA and Reporting Rule violate their rights under the First, Fourth,

 Ninth, and Tenth Amendments to the Constitution (Dkt. #6 at p. 29). To Plaintiffs, “the mere




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 ‘threat’” of “revealing protected information on pain of criminal punishment” constitutes

 irreparable harm (Dkt. #6 at p. 29) (quoting Book People, Inc., 91 F.4th at 341).

          The Government sees it quite differently. According to it, neither of Plaintiffs’ bases for

 irreparable harm are sufficient.6 First, the Government contends that Plaintiffs cannot establish

 irreparable harm due to compliance costs (Dkt. #18 at p. 19). It argues that “the evidence Plaintiffs

 cite in support [of the compliance costs they would incur under the CTA and Reporting Rule] is

 wholly conclusory, consisting of a single statement in the non-associational Plaintiffs’

 declarations,” it argues (Dkt. #18 at p. 19). Second, the Government submits that any compliance

 costs Plaintiffs would incur are de minimis (Dkt. #18 at p. 19). In support, the Government notes

 that Plaintiffs, by their own admissions, have already determined that they are reporting companies

 subject to the CTA and Reporting Rule (Dkt. #18 at p. 19). The beneficial ownership report form

 is free, and the information the Plaintiffs would have to disclose is, in the Plaintiffs’ own words,

 “readily available,” the Government argues (Dkt. #18 at p. 19). In essence, because the

 Government believes that the reporting process is simple, any costs Plaintiffs incur are de minimis,

 militating against a finding that Plaintiffs have proved they will suffer irreparable harm, so the

 argument goes (See Dkt. #18 at p. 19).

          But the Fifth Circuit rejected both arguments wholesale just last year, characterizing them

 as “meritless.” See Rest. Law Ctr., 66 F.4th at 598. To demonstrate irreparable harm, Plaintiffs

 need not plead a specific dollar amount representing the total amount of compliance costs they


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  Initially, the Government also argued that “Plaintiffs’ delay in seeking preliminary relief following passage of the CTA
 weighs heavily against any argument that they might suffer imminent, irreparable injury absent emergency relief” (Dkt.
 #18 at p. 18). Accordingly, the Government suggested that Plaintiffs did not demonstrate the necessity of a preliminary
 injunction because there was enough time for the Court to resolve the case through dispositive motions (Dkt. #18 at
 p. 18). The Government advanced this argument when it filed its Response in late June of 2024. The Court’s schedule,
 however, prevented it from being able to have a hearing prior to October of 2024. As a result, the Government
 abandoned this argument at the Court’s October 9 hearing.

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 might incur. Id. at 600. “Stringently insisting on a precise dollar figure reflects an exactitude that

 our law does not require.” Id. Thus, it is enough that each Plaintiff swore in their Declarations that

 they will incur compliance costs and legal costs should they have to comply with the CTA and

 Reporting Rule. See id. Further, the Government’s assertion that NFIB—the associational Plaintiff

 in this matter—did not discuss compliance costs in its Declaration is demonstrably false and does

 not change this conclusion (See Dkt. #18 at p. 19). NFIB swore that its members would incur

 compliance costs should the CTA and Reporting Rule remain in force (See Dkt. #6-7 at p. 2). This

 too is sufficient. See id.

         Moreover, the Court and the Government need not accept Plaintiffs’ sworn word for

 it—FinCEN itself concedes that reporting companies will incur compliance costs of the same sort

 that Plaintiffs describe in their Declarations as a result of the CTA and Reporting Rule. See 87 Fed.

 Reg. at 59585–86 (“FinCEN estimates that the total cost of filing BOI reports is approximately

 $22.7 billion in the first year and $5.6 billion in the years after.”). This concession bolsters the

 Plaintiffs’ belief that they will suffer irreparable harm. See Rest. Law Ctr., 66 F. 4th at 600. It is

 ironic that the Government suggests that Plaintiffs must plead their compliance costs with greater

 specificity. Indeed, the Government itself only provides “estimates” in the form of broad ranges

 of compliance costs. See 87 Fed. Reg. at 59585–86. The Government seeks to hold the Plaintiffs to

 a standard that the law does not require. That Plaintiffs’ Declarations do not include a specific

 dollar figure in no way reduces their showing of irreparable harm. See id.

         The Court also disagrees with the Government’s position that it would, in essence, be too

 easy for the Plaintiffs to comply with the CTA and Reporting Rule for their obligations to constitute

 irreparable harm. In support of its position that any harm Plaintiffs would incur is de minimis, the



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 Government directs the Court to the Northern District of Texas case, Second Amend. Found., Inc.

 v. ATF (Dkt. #18 at p. 19) (citing No. 3:21-cv-0116, 2023 U.S. Dist. LEXIS 202589, at *48–49

 (N.D. Tex. Nov. 13, 2023)). That case does nothing to suggest that the costs Plaintiffs face here

 are, in fact, de minimis. There, the Court noted that the record “simply [did] not illustrate the

 nature of [the plaintiff’s] compliance costs, let alone that they [were] not more than de minimis.”

 Id. Having no evidence to suggest that the regulation at issue there would actually force the plaintiff

 to suffer compliance costs, the district court concluded that the plaintiff did not show irreparable

 harm. See id. There, consistent with Fifth Circuit precedent, the district court did not define the

 contours of “de minimis.” See id.; Rest. Law Ctr., 66 F.4th at 599–600 (declining to define a specific

 dollar amount for what constitutes more than de minimis compliance costs). Here, the record

 contains sufficient evidence to show that the compliance costs Plaintiffs face exceed some de

 minimis value.

        The Court declines the Government’s invitation to make a bright-line value judgement as

 to what quantum of pecuniary injury constitutes “more than de minimis” compliance costs. See

 Louisiana v. Biden, 55 F.4th at 1035. To be sure, the Plaintiffs’ alleged compliance costs must be

 “more than de minimis” to rise to the level of irreparable harm. Id. But it would be inconsistent

 with precedent to define a specific dollar figure. The key inquiry here is “not so much the

 magnitude but the irreparability that counts.” Texas v. EPA, 829 F.3d at 433–34. And in any event,

 deprivations of constitutional rights come a few dollars at a time. Setting a bright-line rule thus

 makes little sense in this context. Plus, FinCEN acknowledges that companies will incur

 compliance costs like those that Plaintiffs allege. See 87 Fed. Reg. at 59585–86. The Government




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 does not dispute that Plaintiffs cannot recover these costs (See Dkt. #18 at p. 19). See also Wages &

 White Lion Invs., 16 F.4th at 1142. Thus, the Government’s argument on this point is unavailing.

        Next, the Government claims that compliance is not a heavy lift for the Plaintiffs (Dkt. #18

 at p. 19). But that is not the standard. To reiterate, “complying with a regulation later held invalid

 almost always produces the irreparable harm of nonrecoverable compliance costs.” Rest. Law Ctr.,

 66 F.4th at 597 (quoting Louisiana v. Biden, 55 F.4th at 1034 (citing Texas v. EPA, 829 F.3d 405,

 433 (5th Cir. 2016))) (emphasis in original). There is nothing in these facts or at law to suggest that

 the Court should treat this as an abnormal case not subject to this general rule. The compliance

 costs Plaintiff alleges are unrecoverable and more than de minimis. See Rest. Law Ctr., 66 F.4th at

 599–600. The costs are far more than speculative, as FinCEN itself acknowledges, and the

 Government wisely does not dispute. See 87 Fed. Reg. 59585–86. Thus, Plaintiffs have met their

 burden to show that, absent injunctive relief, they will suffer irreparable harm.

        Despite having determined that Plaintiffs have met their burden to show impending

 irreparable harm in the form of compliance costs, for the avoidance of doubt, the Court will address

 Plaintiffs’ second theory of irreparable harm. Plaintiffs alternatively alleged that they will suffer

 irreparable harm because the CTA and Reporting Rule putatively violate their constitutional rights

 (Dkt. #6 at p. 29). To the Government, however, an alleged constitutional violation alone will not

 suffice (Dkt. #18 at p. 19). The Government notes, “‘the invocation of the First Amendment

 cannot substitute for the presence of an imminent, non-speculative injury.’” (Dkt. #18 at p. 19)

 (quoting Google, Inc. v. Hood, 822 F.3d 212, 228 (5th Cir. 2016)). Hence, the Government argues,

 it would be improper to hold that Plaintiffs would suffer “irreparable harm solely [based on

 Plaintiffs’] allegation that [their] constitutional rights have been violated” (Dkt. #18 at p. 19).



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        In support, the Government cites two opinions. First, it points the Court to Castro v. City

 of Grand Prairie, an unpublished case (Dkt. #18 at p. 19) (citing No. 3:21-CV-885, 2021 WL

 1530303, at *2 (N.D. Tex. Apr. 19, 2021)). There, a pro se plaintiff sought a temporary restraining

 order (“TRO”) and brought claims under 42 U.S.C. § 1983. Castro, 2021 WL 1530303, at *1. The

 plaintiff, a candidate for political office, alleged that the city of Garland violated his rights under

 the First Amendment and Equal Protection Clause when a county sheriff threatened to remove the

 plaintiff’s campaign signs across the county. Id. He further alleged that the city violated his rights

 when a county official removed his campaign signs that were placed on private property. Id. The

 district court denied emergency relief for two reasons. First, the plaintiff’s “TRO Application

 consist[ed] of one page of conclusory assertions, and his Complaint [was] devoid of any allegations

 that would satisfy the requirements for liability under section 1983.” Id. at *2. Second and as a

 result of his “conclusory” allegations, Plaintiff failed to prove that he faced a substantial threat of

 irreparable harm. Id.

        The Government also relies on Sheffield v. Bush for the same proposition (Dkt. #18 at p. 19)

 (citing 604 F. Supp. 3d 586, 609 (S.D. Tex. 2022)). There, two homeowners challenged an order

 issued by the Texas General Land Office that impacted the homeowners’ property. Id. at 595. The

 homeowners sought a preliminary injunction against the order’s enforcement and a declaratory

 judgment that the order amounted to an unconstitutional taking that also violated both the Fourth

 Amendment and the Due Process Clause. Id. The court denied the plaintiffs’ motion for

 preliminary injunction for what appear to be two principal reasons, at least as relevant here. First,

 the court was “not yet convinced” that plaintiffs had shown a constitutional violation. Id. at 609.

 Second, the court found that “an allegation” of a constitutional violation, “taken alone,” was not



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 sufficient to establish an irreparable injury. Id. In reaching this conclusion, the court recognized

 that in Elrod v. Burns, the Supreme Court held that “‘the loss of First Amendment freedoms, even

 for minimal periods of time, unquestionably constitutes irreparable injury.’” Id. (quoting Elrod v.

 Burns, 427 U.S. 347, 373 (1976)). The court noted that the Fifth Circuit had yet to apply Elrod to

 cases “outside of the First Amendment context.” Id. (internal citation omitted).

         But neither of these cases suggest that Plaintiff has not met their burden here. Whereas the

 court in Castro determined that the plaintiff had not shown irreparable harm because his allegations

 were “conclusory,” that is not the case here. Rather, the record before the Court contains

 sufficient facts to indicate the CTA and the Reporting Rule may violate the Constitution. Cf.

 Castro, 2021 WL 1530303, at *2. The Court does not detect a deficiency in Plaintiffs’ pleadings.

         The Government’s reliance on Sheffield is no more persuasive. First, the First Amendment

 is at issue in this case (See Dkt. #6 at pp. 19–25). Second, it appears that the Fifth Circuit has applied

 Elrod—or, at minimum, its undergirding principles—at least once outside of the context of the

 First Amendment. See Deerfield Med. Ctr. v. City of Deerfield Beach, 661 F.2d 328, 338 (1981)

 (applying Elrod in the context of the right to privacy). There is no reason it should not apply here.

 Any other conclusion would render the Fifth Circuit’s well-established position that “[w]hen an

 alleged deprivation of a constitutional right is involved, most courts hold that no further showing

 of irreparable injury is necessary” a nullity. Opulent Life Church v. City of Holly Springs, 697 F.3d

 279, 295 (5th Cir. 2012) (quoting 11A CHARLES ALAN WRIGHT, ARTHUR R. MILLER & MARY KAY

 KANE, FEDERAL PRACTICE AND PROCEDURE § 2948.1 (2d ed. 1995)); see also Book People, Inc., 91

 F.4th at 340. Thus, “upon a showing that an ‘alleged’ fundamental right ‘is either threated or in

 fact being impaired,’ a movant is substantially threatened with irreparable injury that ‘cannot be



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 undone by monetary relief.’” Mock v. Garland, 697 F. Supp. 3d 564, 577 (N.D. Tex. 2023), appeal

 dismissed as moot sub nom. Watterson v. Bureau of Alcohol, Tobacco, Firearms, & Explosives, No. 23-

 11157, 2024 WL 3935446 (5th Cir. Aug. 26, 2024) (quoting Opulent Life Church, 697 F.3d at 295–

 97; Deerfield Med. Ctr., 661 F.2d at 338).

        Here, Plaintiffs claim that the CTA violates three fundamental rights. First, the right to be

 free from laws that Congress does not have authority to enact (Dkt. #6 at pp. 9–19). Second,

 Plaintiffs allege the CTA and Reporting Rule violate their rights under the First Amendment (Dkt.

 #6 at pp. 19–25). And third, Plaintiffs contend that the CTA and Reporting Rule violate their rights

 under the Fourth Amendment (Dkt. #6 at pp. 25–27). The invocation of these rights is not a

 “‘substitute for the presence of an imminent, non-speculative injury’” as the Government points

 out (Dkt. #18 at p. 19) (quoting Google, Inc., 822 F.3d at 228). But Plaintiffs must comply with the

 CTA and Reporting Rule by January 1, 2025. See 31 C.F.R. § 1010.380(a)(1)(iii). The Government

 does not protest that impending deadline. And if Plaintiffs must comply with an unconstitutional

 law, the bell has been rung. Absent injunctive relief, come January 2, 2025, Plaintiffs would have

 disclosed the information they seek to keep private under the First and Fourth Amendments and

 surrendered to a law that they contend exceeds Congress’s powers. That damage “cannot be

 undone by monetary relief.” See Deerfield Med. Ctr., 661 F.2d at 338. That harm is irreparable.

        Because Plaintiffs have met their burden to show that they will suffer unrecoverable

 compliance costs absent emergency relief, they have met their burden to show that the CTA and

 Reporting Rule threaten substantial, imminent, non-speculative, and irreparable harm. See Rest.

 Law Ctr., 66 F.4th at 598; Texas v. EPA, 829 F.3d at 433. Independent of the specter of compliance

 costs on the horizon, Plaintiffs have met their burden to show the threat of irreparable harm



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 because the CTA and Reporting Rule substantially threaten their constitutional rights. See

 Deerfield Md. Ctr., 661 F.2d at 338; Book People, Inc., 91 F.4th at 340.

        B.      Likelihood of Success on the Merits

        The Court turns next to the merits of the case and asks whether Plaintiffs have carried their

 burden to show a substantial likelihood of success on the merits. In making this determination, the

 Court must carefully measure the CTA and the Reporting Rule against our written Constitution in

 an effort to resolve this matter of first impression in the Fifth Circuit. This inquiry requires

 extensive analysis and begins with a discussion of the type of challenges the Plaintiffs bring against

 the CTA and Reporting Rule.

        Plaintiffs mount two types of attacks against the CTA. Plaintiffs contend that the CTA and

 Reporting Rule are unconstitutional both facially and as applied. “A ‘facial’ challenge . . . means a

 claim that the law is ‘invalid in toto—and therefore incapable of any valid application.’” Vill. of

 Hoffman Ests. v. Flipside, Hoffman Ests., Inc., 455 U.S. 489, 494 n.5 (1982) (quoting Steffel, 415 U.S.

 at 474). Challenges of these sort against legislative acts are “the most difficult challenge to mount

 successfully, since the challenger must establish that no set of circumstances exists under which

 the Act would be valid.” United States v. Salerno, 481 U.S. 739, 745 (1987). As-applied challenges

 are narrower and less burdensome. An as-applied attack requires the Court to decide “whether a

 statute is administered unconstitutionally against a particular plaintiff.” Does #1-7 v. Abbott, 345 F.

 Supp. 3d 763, 774 (N.D. Tex. 2018), aff'd sub nom. Does 1-7 v. Abbott, 945 F.3d 307 (5th Cir. 2019).

        In cases such as this one, where “a litigant brings both as-applied and facial challenges,

 courts generally decide the as-applied challenge first because it is the narrower consideration.”

 Buchanan v. Alexander, 919 F.3d 847, 852 (5th Cir. 2019). However, this general rule might change

 in the context of enumerated powers challenges. “By their very nature, almost all constitutional

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 challenges to specific exercises of enumerated powers, particularly the Commerce Clause, are

 facial.” Virginia ex rel. Cuccinelli v. Sebelius, 728 F. Supp. 2d 768, 774 (E.D. Va. 2010), vacated, 656

 F.3d 253 (4th Cir. 2011). “‘When a federal statute is challenged as going beyond Congress’s

 enumerated powers, under [Supreme Court] precedent, the Court first asks whether the statute is

 constitutional on its face.’” Id. (citing Nevada Dept. of Human Res. v. Hibbs, 538 U.S. 721, 743 (2003)

 (Scalia, J., dissenting) (citing United States v. Morrison, 529 U.S. 598 (2000); City of Boerne v. Flores,

 521 U.S. 507 (1997); United States v. Lopez, 514 U.S. 549 (1995) (emphasis in original)). If the

 statute survives that challenge, “the [C]ourt may . . . proceed to analyze whether the statute

 (constitutional on its face) can be validly applied to the litigant[s].” Nevada Dept. of Human Res.,

 538 U.S. at 743 (Scalia, J., dissenting). Here, the first issue before the Court is whether Congress

 has the power to enact the CTA. Only if Congress had the authority to pass the CTA does it make

 sense for the Court to take up Plaintiff’s as-applied challenge and their attacks on the CTA under

 the First and Fourth Amendments. Thus, in keeping with that logic, the Court takes up the facial

 attacks first, starting with Plaintiffs’ enumerated powers challenge under the Tenth Amendment.

         1.    Whether Congress Exceeded its Authority in Passing the CTA

         This issue invites a return to first principles. Since our nascency, it has been “universally

 admitted” that our Government is “one of enumerated powers.” M’Culloch v. Maryland, 17 U.S.

 316, 405 (1819). Congress’s powers are express and defined in our Constitution. U.S. CONST. art.

 I, § 8. Thus, Congress may only exercise those powers the Constitution expressly vests it with. Id.

 The States and the people retain the remainder. U.S. CONST. amend. X. “The enumeration of

 [these] powers is also a limitation of powers, because ‘the enumeration presupposes something not

 enumerated.’” NFIB v. Sebelius, 567 U.S. 519, 534 (2012). “The Constitution’s express conferral

 of some powers makes clear that it does not grant others.” Id. Vast as Congress’s powers may be,

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 “it still must show that a constitutional grant of power authorizes its actions.” Id. at 535 (citing

 United States v. Comstock, 560 U.S. 126 (2010)). Thus, the Federal Government is not equipped

 with a federal police power to regulate all aspects of public life. United States v. Morrison, 529 U.S.

 598, 618–19 (2000). That power belongs to the states alone. See Sebelius, 567 U.S. at 535. This

 principle of federalism, rudimentary in our system, “protects the liberty of the individual from

 arbitrary power.” Bond v. United States, 564 U.S. 211, 222 (2011).

        Obvious as these notions are, more than two centuries ago, Chief Justice Marshall observed

 that “the question respecting the extent of the powers actually granted, is perpetually arising, and

 will probably continue to arise, so long as our system shall exist.” M’Culloch, 17 U.S. at 405. He

 was right. Some two-hundred and four years later, Plaintiffs’ challenge to the CTA poses yet

 another iteration of this question. As our system has evolved, and the powers that the Government

 wields have ebbed and flowed, parties have turned to the judiciary to safeguard the promises of the

 Tenth Amendment. Plaintiffs call upon the Court to do so once more.

        But a plea to the Court should not be misconstrued as an invitation for judicial activism.

 Assessing the constitutionality of a legislative act requires the Court to bear in mind its “limited

 role in policing th[e] boundaries” of the Government’s power. Sebelius, 567 U.S. at 534. The Court

 does not wade into the treacherous waters of policy-making. Neither will the Court opine as to

 whether legislative action constitutes good governance or sound judgment. For these matters are

 “entrusted to the Nation’s elected leaders.” Id. at 532. Instead, the Court need only assess

 “whether Congress has the power under the Constitution to enact the challenged provisions.” Id.

 Modest as this function is, judicial deference to a co-equal branch does not render the judicial

 function a nullity, nor does it gift Congress unbridled discretion to enact whatever legislation it



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 chooses. History is marked with occasions where Congress’s good-faith exercise of its power has

 strayed too far, and where courts, acting in their unique and exclusive province, have restored the

 balance by striking down a law as beyond Congress’s authority. Though our Constitution excludes

 the Court from governance and policy-making, the Court embarks alone on matters of legality and

 constitutionalism. “It is emphatically the province and duty of the judicial department to say what

 the law is,” and sometimes, what the law cannot be. Marbury, 5 U.S. at 177. And if Congress lacks

 the power to enact a given law, that law is no law at all. See id. at 175–76.

         Plaintiffs contend that the CTA simply cannot be a valid exercise of Congress’s

 enumerated powers. The Government disagrees. It suggests that two provisions of the

 Constitution authorize the CTA: the Commerce Clause and the Necessary and Proper Clause. If

 the CTA is authorized by either, then the Court must reject Plaintiffs’ facial attack under the Tenth

 Amendment as a failure to show that their challenge is likely to succeed on the merits. See Salerno,

 481 U.S. at 745. The Court measures the CTA against each proffered Clause in turn.

 The Commerce Clause

         The Constitution vests Congress with the exclusive power “[t]o regulate Commerce with

 foreign Nations, and among the several states.” U.S. CONST. art. I, § 8, cl. 3. Chief Justice

 Marshall, writing for the Supreme Court in 1824, first defined commerce, stating:

         [c]ommerce, undoubtedly, is traffic, but it is something more: it is intercourse. It
         describes the commercial intercourse between nations, and parts of nations, in all
         its branches, and is regulated by prescribing rules for carrying on that intercourse.

 Gibbons v. Ogden, 22 U.S. 1, 189 (1824). The Commerce Clause “is the power to regulate; that is,

 to prescribe the rule by which commerce is governed.” Id. at 196. While the breadth of Congress’s

 Commerce Power has waxed and waned over the years, ultimately resulting in Congress having



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 “broad” authority to regulate commerce, that power is not limitless. See Lopez, 514 U.S. at 557.

 The Supreme Court has cautioned that the Commerce Clause “must be considered in light of our

 dual system” and “may not be extended so as to . . . create a completely centralized government.”

 Id. (quoting NLRB v. Jones & Laughlin Steel Corp., 301 U.S. 1, 37 (1937)). Against this backdrop,

 the Supreme Court has identified “three broad categories of activity that Congress may regulate

 under its commerce power.” Id. at 558. They are: (1) “the channels of interstate commerce,”

 (2) “the instrumentalities of interstate commerce” and “persons or things in interstate

 commerce,” and (3) “activities that substantially affect interstate commerce.” Gonzales v. Raich,

 545 U.S. 1, 16–17 (2005). The Government incorrectly contends that each category independently

 authorizes the CTA (See Dkt. #18 at pp. 15–19).

        a.      The CTA does not regulate channels of, or instrumentalities in, commerce.

        The Court begins with the first two categories and handles them together. The

 Government argues that the Commerce Clause authorizes the CTA because “it regulates the

 channels of, and entities in interstate commerce” (Dkt. #18 at p. 29). In support of this theory, the

 Government cites American Power & Light Co. v. SEC, arguing that “Congress, of course, has

 undoubted power under the Commerce Clause to impose relevant conditions and requirements on

 those who use the channels of interstate commerce so that those channels will not be conduits for

 promoting or perpetuating economic evils” (Dkt. #18 at p. 29) (quoting 329 U.S. 90, 99 (1946)).

 The Government also relies upon North American Co. v. SEC for the same proposition (Dkt. #18

 at p. 29) (citing 327 U.S. 686 (1946)). It notes that the Supreme Court has said, “‘to the extent

 that corporate business is transacted through such channels, affecting commerce in more states

 than one, Congress may act directly with respect to that business to protect what it conceives to be

 the national welfare,’ and ‘it may prescribe appropriate regulations and determine the conditions

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 under which the business may be pursued’” (Dkt. #18 at p. 29) (quoting Am. Power & Light Co.,

 329 U.S. at 99–100). Because some reporting companies use the “channels of interstate commerce,

 including telecommunications and electronic bank routing systems,” the Government may

 regulate all reporting companies, so the argument goes (Dkt. #18 at p. 29). Further, the

 Government claims that Congress’s commerce power permits it to regulate directly “those entities

 who seek to misuse those channels to commit economic crimes” (Dkt. #18 at p. 29).

        These arguments misinterpret the scope of Congress’s power to regulate channels of and

 instrumentalities in interstate commerce. The Supreme Court and Fifth Circuit alike define the

 “channels of interstate commerce” as “the interstate transportation routes through which persons

 and goods move.” United States v. Bailey, 115 F.3d 1222, 1226 (5th Cir. 1997) (internal citations

 omitted); Morrison, 529 U.S. at 613 n.5. “This category extends beyond the regulation of highways,

 railroads, air routes, navigable rivers, fiber-optic cables and the like.” Groome Res. Ltd. v. Par. of

 Jefferson, 234 F.3d 192, 203 (5th Cir. 2000) (internal citations omitted). The Supreme Court

 affirmed that Congress may regulate in this category to “prohibit discrimination in public

 accommodations” and noted that Congress has used the Commerce Clause “to prevent illicit

 goods from traveling through the channels of commerce.” Id. (citing Heart of Atlanta Motel v.

 United States, 379 U.S. 241, 256 (1964)).

        In contrast, the term “instrumentalities in interstate commerce,” is understood to refer to

 the “planes, trains, and automobiles” of commerce, “along with the persons associated with

 them.” Hobby Lobby Distillers Ass’n v. ATF, No. 4:23-CV-1221-P, 2024 WIL 3347841, at *13 (N.D.

 Tex. July 10, 2024) (citing United States v. Ballinger, 395 F.3d 1219, 1226 (11th Cir. 2005) (the

 instrumentalities of commerce are generally held to be the people and things themselves moving



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 in commerce, and the people who make commerce possible)); Lopez, 514 U.S. at 558 (defining

 “instrumentalities of interstate commerce” as “persons or things in interstate commerce”);

 Bailey, 225 F.3d at 1227 (defining “instrumentalities” as “persons or things moving in commerce

 . . . includ[ing] regulation or protection pertaining to instrumentalities or things as they move in

 interstate commerce”) (internal citations omitted).

         While the Government begins its argument with an assumption—that the CTA regulates

 companies that use channels or instrumentalities in interstate commerce—the Court starts the

 inquiry, as always, with the statute’s text. See Germain, 503 U.S. at 254. The CTA regulates

 “reporting companies,” which the Act defines as an entity “created by the filing of a document

 with a secretary of state or a similar office under the law of a State or Indian Tribe” or “formed

 under the law of a foreign country and registered to do business in the United States by the filing

 of a document with a secretary of state or a similar office under the laws of a State or Indian Tribe.”

 31 U.S.C. § 5336(a)(11). As a result of having so registered, the CTA requires those companies to

 divulge their beneficial ownership information to FinCEN on pain of civil and criminal

 punishment. Id. §§ 5336(b)(1)-(2)(A); 5336(h). The District Court for the Northern District of

 Alabama, faced with this definition, held that the CTA does not regulate, by its text, a channel or

 instrumentality of commerce. NSBU v. Yellen, 721 F. Supp. 3d at 1278.

        The Court agrees with its sister court. “The word ‘commerce’ or references to any channel

 or instrumentality of commerce, are nowhere to be found in the CTA.” Id. And when examining

 the CTA’s language, the Court “must presume that Congress ‘says in a statute what it means and

 means in a statute what it says.’” Rotkiske v. Klemm, 589 U.S. 8, 14 (2019) (quoting Connecticut

 Nat. Bank v. Germain, 503 U.S. 249, 254 (1992)). Companies, generally, do not fit into either



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 category; they are not a “channel” or “instrumentality” of commerce. See Lopez, 514 U.S. at 558–

 59 (collecting cases indicating that channels and instrumentalities of commerce are the pathways

 of commerce and the items moving in commerce); Ballinger, 395 F.3d at 1226 (same). If they were,

 then Congress could regulate any company, in any way, all the time. There is no limiting principle

 in that, and precedent does not support acceptance of such a capacious construction of the words

 “channel” and “instrumentality.” See Lopez, 514 U.S. at 558–59.

        Though the CTA does not directly regulate channels or instrumentalities of commerce, the

 Government contends that Supreme Court precedent extends Congress’s ability to regulate in this

 realm to companies that use channels and instrumentalities of commerce (See Dkt. #18 at p. 29).

 Indeed, it is “well-settled” that Congress can invoke its commerce power to regulate “those who

 use the channels of interstate commerce in order that those channels will not become the means of

 promoting or spreading evil, whether of a physical, moral, or economic nature.” United States v.

 Orito, 413, U.S. 129, 144 (1973). But this grant of power, too, does not write Congress a blank

 regulatory check. In American Power & Light Co. v. SEC, two public utility holding companies

 challenged the Public Utility Holding Act as outside of Congress’s commerce power. 329 U.S. at

 96–97. The Public Utility Holding Act authorized the SEC to require registered holding companies

 to “ensure” that the company’s corporate structure “did not unduly or unnecessarily complicate

 the structure, or unfairly or inequitably distribute voting power among security holders.” Id. at 97.

 The Supreme Court upheld the Act, largely because Congressed aimed at “solely to public utility

 holding company systems that use[d] channels of interstate commerce.” Id. at 100. But Congress

 did not include such an express aim in the CTA; it does not only regulate those companies that use

 channels or instrumentalities. See 31 U.S.C. § 5336. Instead, it assumes that every company does



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 use channels and instrumentalities of interstate commerce without a jurisdictional hook of any kind

 that would limit the CTA’s reach to only those companies who do use those channels or

 instrumentalities. See id. As the district court in NSBU v. Yellen observed, that theory exceeds the

 boundaries of the Commerce Clause. See 721 F. Supp. 3d at 1280. Accordingly, the Government

 must seek to justify the CTA through a different avenue.

        b.      The CTA does not regulate an activity—it creates one.

        Because the CTA does not regulate the channels or instrumentalities of commerce, it may

 only be sustained under the third category of Congress’s commerce power. That is, it must regulate

 an activity, which, in the aggregate, substantially impacts interstate commerce. See Raich, 545 U.S.

 at 16–17. This is the Government’s last hope to justify the CTA as a bare exercise of Congress’s

 power under the Commerce Clause. But before launching into this inquiry under Congress’s third

 category of commerce power, there is a threshold issue which has, at times, foreclosed Congress’s

 ability to legislate under the umbrella of this third category. In NFIB v. Sebelius, the Supreme Court

 drew attention to this initial hurdle. Simply put, legislation under the Commerce Clause must

 regulate an existing activity—not compel activity. See Sebelius, 567 U.S. at 551–53. “The power to

 regulate commerce presupposes the existence of commercial activity to be regulated. If the power

 to regulate something included the power to create it, many provisions in the Constitution would

 be superfluous.” Id. at 551 (emphasis in original).

        Concomitant with this rule is nuance. At issue in Sebelius was the Affordable Care Act’s

 individual mandate provision, which forced individuals to purchase health insurance to provide a

 minimum baseline of coverage. Id. at 530–31. In assessing whether Congress, under the Commerce

 Clause, had the power to enforce the individual mandate, the Supreme Court noted that all of its

 precedent “ha[d] one thing in common: They uniformly describe the power as reaching

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 ‘activity.’” Id. at 551 (citing Lopez, 514 U.S. at 560 (“where economic activity substantially affects

 interstate commerce, legislation regulating that activity will be sustained”); Perez v. United States,

 402 U.S. 146, 154 (1971) (“where the class of activities is regulated and that class is within the reach

 of federal power, the courts have no power to excise, as trivial, individual instances of the class”)

 (emphasis in original); Wickard v. Filburn, 317 U.S. 111, 125 (1942) (“[E]ven if appellee’s activity

 be local and though it may not be regarded as commerce, it may still, whatever its nature, be

 reached by Congress if it exerts a substantial economic effect on interstate commerce.”); Jones &

 Laughlin Steel, 301 U.S. at 37 (“Although activities may be intrastate in character when separately

 considered, if they have such a close and substantial relation to interstate commerce that their

 control is essential or appropriate to protect that commerce from burdens or obstructions,

 Congress cannot be denied the power to exercise that control”)). Thus, for Congress to properly

 exercise its power to “regulate commerce,” it cannot force one to engage in an activity for the sole

 purpose of having something to regulate. See id. at 554.

        The Supreme Court rejected the Government’s theory that the Commerce Clause

 empowered Congress to enact the individual mandate precisely because it did not regulate a pre-

 existing activity—it created one of its own. Id. at 552. Rather than regulating a commercial activity,

 the Supreme Court reasoned, the individual mandate “compels individuals to become active in

 commerce by purchasing a product, on the ground that their failure to do so affects interstate

 commerce.” Id. (emphasis in original). But this, the Constitution does not permit. Any other

 holding “would effectively override” the Commerce Clause’s limitations “by establishing that

 individuals may be regulated under the Commerce Clause whenever enough of them are not doing

 something the Government would have them do.” Id. at 553.



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        Like the individual mandate, this is where the Government’s proffered Commerce Clause

 justification of the CTA begins to unravel. Initially, Plaintiffs, consistent with separate litigation

 against the CTA occurring across the Nation, argued that the CTA “regulates the act of

 registration under state law” (Dkt. #15 at p. 15). See, e.g., Cmty. Assn’s Inst. v. Yellen, No. 1:23-CV-

 1597 (MSN/LRV), 2024 WL 4571412, at * 7 (E.D. Va. Oct. 24, 2024). But at the Court’s October

 9 hearing, Plaintiffs abandoned that characterization. Instead, Plaintiffs suggested that the CTA

 does not regulate an activity at all, but rather that the CTA regulates, on an ongoing basis, reporting

 companies and beneficial owners. In its Response, the Government did not articulate what,

 precisely, the activity is that Congress strives to regulate through the CTA (See Dkt. #18). The

 Government’s Response does, however, tacitly dispute Plaintiffs’ initial position, arguing that

 “the CTA does not purport to override or preempt any state-law incorporation provisions” (Dkt.

 #18 at p. 27). Still, this does not answer the narrow question, what is the “activity” the CTA

 regulates? Once more, the Court’s hearing provided clarity. There, the Government stated that

 “the conduct that the CTA regulates is the anonymous existence and operation of corporations.”

 The Government takes a substantially similar position in litigation involving enumerated powers

 challenges to the CTA in courts across the country. See, e.g., id. (“The [G]overnment argues that

 the ‘CTA does not, and does not purport to regulate corporate entity-formation . . . . Rather, the

 CTA governs the conduct of a covered entity as an ongoing concern.’”) (emphasis in original).

        The Court agrees with the Government’s framing of the issue. That the CTA changes, in

 any way, the process of registration under any state law is a non sequitur. It adds nothing to, nor

 detracts in any way from, the registration process under State law. See generally 31 U.S.C. § 5336.

 Instead, it uses the act of registration as a triggering event for the CTA’s applicability. Id.



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 § 5336(a)(11). Thus, the Court agrees that the CTA does not regulate the act of registration,

 consistent with the District Court for the Eastern District of Virginia. See Cmty. Ass’ns Inst., 2024

 WL 4571412, at * 7. But that framing is fatal to the Government’s position.

        At first blush, “The anonymous existence and operation of corporations” might appear as

 an “activity.” After all, “operation” is an action. See Operation, BLACK’S LAW DICTIONARY (12th

 ed. 2024) (defining “operation” as “the state or condition of functioning or being in action.”). But

 the CTA, by its text, does not appear to regulate operation at all. It does not forbid a company from

 doing anything except insofar as it forbids a reporting company’s failure to file an updated BOI

 report. See 31 U.S.C. § 5336. Instead, by its text, it seems to only regulate an entity’s existence,

 simply because reporting companies are, by their nature, anonymous. See id. And “anonymous

 existence” is not an activity at all. It is a state of being. See, e.g., WEBSTER’S THIRD NEW

 INTERNATIONAL NEW DICTIONARY (3d ed. 1986) (defining “existence” as “the state or fact of

 having being” and “the manner of being that is common to every mode of being.”). It is the natural,

 idle state that any entity formed by registering with a secretary of state necessarily takes on by

 virtue of its registration. It is akin to a person simply being alive in their natural state,

 indistinguishable from an individual choosing to refrain from purchasing health insurance. That is

 not an activity. And the regulation of this natural state of being seems to be exactly what the

 Supreme Court rejected in NFIB v. Sebelius. See 567 U.S. at 552. So, the question arises: why would

 Congress seek to regulate the anonymous state of being that reporting companies assume as a

 consequence of their registration? The AMLA answers this question plainly:

            money launderers and others involved in commercial activity intentionally
            conduct transactions through corporate structures in order to evade detection,
            and may layer such structures, much like Russian nesting “Matryoshka” dolls,
            across various secretive jurisdictions such that each time an investigator obtains

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            ownership records for a domestic or foreign entity, the newly identified entity is
            yet another corporate entity, necessitating a repeat of the same process.

 NDAA § 6402. And absent something akin to the CTA, the Government claims that it faces great

 difficulty in enforcing its financial crimes laws. See id. In other words, the CTA is a law

 enforcement tool—not an instrument calibrated to protect commerce; an exercise of police power,

 rather than a regulation of an activity which might impair commerce among the several states.

        This the Commerce Clause will not tolerate. In rejecting a Commerce Clause justification

 for the individual mandate in NFIB v. Sebelius, the Supreme Court held that it “compel[led]

 individuals to become active in commerce by purchasing a product, on the ground that their failure

 to do so affects interstate commerce.” 567 U.S. at 552 (emphasis in original). Here, analogous

 language explains the CTA. The CTA “compels” reporting companies to file a beneficial

 ownership report with the Federal Government—an act that no state’s registration laws

 require—“on the ground that their failure to do so affects interstate commerce.” Id. The

 Government argues just this, though in fewer words, in its Response (See Dkt. #15 at p. 25). But

 the Court need not reach the traditional aggregate effects inquiry because the CTA does not

 regulate an activity within the meaning of the Commerce Clause. See NFIB v. Sebelius, 567 U.S. at

 552. Indeed, “[c]onstruing the Commerce Clause to permit Congress to regulate individuals

 precisely because they are doing nothing would open a new and potentially vast domain to

 congressional authority.” 567 U.S. at 552 (emphasis in original). In the same vein, construing the

 Commerce Clause to permit Congress to regulate companies precisely because the Government

 does not know who substantially benefits from their ownership would similarly “open a new and

 potentially vast domain to congressional authority.” See id. “Allowing Congress to justify federal

 regulation by pointing to the effect of” the Government’s lack of information about beneficial


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 owners on commerce would bring countless decisions a [company] could potentially make within

 the scope of federal regulation—and under the Government’s theory—empower Congress to

 make those decisions for [it].” See id (emphasis in original). That cannot be so.

        To be sure, as the Government points out, “[v]arious economic crimes are made easier to

 commit, and harder to discover[], through the formation of corporate entities that may conduct

 economic transactions in their own names without disclosure of beneficial ownership information”

 (Dkt. #18 at p. 22). The notion that one may use a company to veil their illicit financial crimes is

 unassailable. But the Commerce Clause does not justify regulating all companies based on nothing

 more than the fear that a reporting company might shelter a financial criminal. “The proposition

 that Congress may dictate the conduct of an individual today because of prophesied future activity

 finds little support in [Supreme Court] precedent.” Id. at 557. The Commerce Clause does not

 furnish Congress with police power or a “general license to regulate an individual from cradle to

 grave, simply because he will predictably engage in particular transactions.” See id. It stands to

 reason then, that the Commerce Clause does not bless Congress with carte blanche to regulate all

 companies in perpetuity simply because they might engage in commerce, or one might use them to

 conceal criminal activity. See id. Any decision affirming the propriety of the Government’s tenuous

 use of the Commerce Clause here would require the Court to “pile inference upon inference in a

 manner that would bid fair to convert congressional authority under the Commerce Clause to a

 general police power of the sort retained by the state.” See Lopez, 514 U.S. at 567. The Court will

 not interpret the Commerce Clause in such a lax manner. See id.

        Perhaps this is why Congress has never before sought to regulate financial crimes in this

 way. But that alone raises judicial eyebrows at the constitutionality of the CTA. “[S]ometimes ‘the



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 most telling indication of a severe constitutional problem . . . is the lack of historical precedent’ for

 Congress’s action.” NFIB v. Sebelius, 567 U.S. at 549 (quoting Free Enters. Fund v. Pub. Co. Acct.

 Oversight Bd., 561 U.S. 477, 505 (2010) (cleaned up)). When faced with legislative acts that deviate

 from the historical status quo, courts, at the very least, must “‘pause to consider the implications

 of the Government’s arguments.’” Id. at 549–50 (quoting Lopez, 514 U.S. at 564). In taking that

 pause, it appears that sanctioning the CTA under the Commerce Clause would be to rubber-stamp

 a “new form of federal power.” See id. But that power threatens the very fabric our system of

 federalism. See id. Because the CTA does not regulate a pre-existing activity, but instead compels

 a new one, the CTA exceeds Congress’s commerce power. That should be the end of the matter.

 But, for the avoidance of doubt, assuming arguendo that the “the anonymous existence and

 operation of corporations” constitutes an “activity” for purposes of the Commerce Clause, the

 CTA still lays beyond Congress’s commerce power.

         c.      Even if anonymous corporate existence and operation is an activity regulable under the
                 Commerce Clause, the CTA fails to pass muster.

         Congress may not invoke the substantial effects doctrine to regulate future activities or no

 activity at all. Thus, the Court need not perform further analysis under the third category of

 commerce power—activities that, in the aggregate, substantially impact interstate commerce—to

 hold that, at this stage, Plaintiffs have satisfied their burden to show that the CTA falls outside the

 scope of the Commerce Clause. See Raich, 545 U.S. at 16–17. But to give the Government every

 benefit of the doubt, as the Court must, the Court no less will analyze whether Congress may

 regulate “anonymous corporate existence and operation” under this third category.

         In its attempt to justify the CTA, the Government principally relies on Gonzalez v. Raich,

 arguing that “Congress may ‘regulate activities that substantially affect interstate commerce’”


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 (Dkt. #18 at p. 20) (quoting 545 U.S. at 16–17). The Government continues to contend that when

 Congress legislates pursuant to its commerce power under this third category, it may “‘regulate

 purely local activities that have a substantial effect on interstate commerce’” (Dkt. #18 at p. 20)

 (quoting Raich, 545 U.S. at 17). The Government suggests that the Court, in analyzing a legislative

 act’s propriety in this category, need only determine “whether a ‘rational basis’ exists” for

 concluding that the regulated activity, taken in the aggregate, substantially impacts interstate

 commerce (Dkt. #18 at pp. 20–21) (quoting Raich, 545 U.S. at 22). But a close reading of Raich and

 its predecessors reveal that while the Government articulates the right standard, the CTA still fails

 constitutional scrutiny.

        In United States v. Lopez, the Supreme Court aptly summarized the sum of Commerce

 Clause jurisprudence, which bears repeating as none of the Court’s Commerce Clause cases “can

 be viewed in isolation.” Raich, 545 U.S. at 15; see Lopez, 514 U.S. at 553–562. In Jones & Laughlin

 Steel Corp., the Supreme Court addressed a challenge to the National Labor Relations Act, which

 regulated intrastate employment practices. 301 U.S. at 31–34. The Court held that Congress has

 the power to regulate those intrastate activities that “have such a close and substantial relation to

 interstate commerce that their control is essential or appropriate to protect that commerce from

 burdens and obstructions.” Lopez, 514 U.S. at 555 (citing Jones & Laughlin Steel Corp., 301 U.S. at

 37). Thereafter, the Court upheld the Fair Labor Standards act in the face of a challenge under the

 Commerce Clause and stated:

        The power of Congress over interstate commerce is not confined to the regulation
        of commerce among the states. It extends to those activities intrastate which so
        affect interstate commerce or the exercise of the power of Congress over it as to
        make regulation of them appropriate means to the attainment of a legitimate end,
        the exercise of the granted power of Congress to regulate interstate commerce.



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 Id. (quoting United States v. Darby, 312 U.S. 100, 118 (1941) (citing United States v. Wrightwood

 Dairy Co., 315 U.S. 110, 119 (1942) (Congress’s power under the Commerce Clause “extends to

 those intrastate activities which in a substantial way interfere with or obstruct the exercise of the

 granted power.”)).

        Subsequently, in the landmark case of Wickard v. Filburn, the Supreme Court interpreted

 the Commerce Clause to permit Congress to regulate the production and consumption of

 homegrown wheat—an intrastate, non-economic endeavor. Id. at 556 (citing Wickard, 317 U.S. at

 128–29. The Court observed, consistent with its holdings in Darby, Jones, and Wrightwood:

        Even if [the wheat farmer’s] activity be local and though it may not be regarded as
        commerce, it may still, whatever its nature, be reached by Congress if it exerts a
        substantial economic effect on interstate commerce, and this irrespective of
        whether such effect is what might at some earlier time have been defined as
        “direct” or “indirect.”

 Id. (quoting Wickard, 317 U.S. at 125). The Supreme Court stressed that even though a single wheat

 farmer, growing wheat for himself, may have a “trivial” impact on the market for wheat, that

 reality alone was not “‘enough to remove him from the scope of federal regulation where . . . his

 contribution, taken together with that of many others similarly situated, is far from trivial.’” Id.

 (quoting Wickard, 317 U.S. at 127–28).

        These cases, the Supreme Court declared, “ushered in an era of Commerce Clause

 jurisprudence that greatly expanded the previously defined authority of Congress under that

 Clause.” At that time, the limits the Court relied on in interpreting the contours of the Commerce

 Clause were the “dual system of government” and a well-founded, constitutionally rooted fear of

 creating a “completely centralized government.” Id.




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        Enter Lopez. At issue in Lopez was the Gun-Free School Zones Act of 1990, through which

 Congress criminalized as a matter of federal law the knowing possession of a firearm in a school

 zone.” Id. at 551. The Supreme Court struck down the Act as outside of Congress’s power under

 the Commerce Clause. Id. In so holding, the Court first observed that the statute did not “contain[]

 a jurisdictional element which would ensure, through a case-by-case inquiry, that the firearm

 possession in question affect[ed] interstate commerce.” Id. at 561. The Court also noted that

 because the statute was not part of a “larger regulation of economic activity[] in which the

 regulatory scheme would be undercut unless the intrastate activity were regulated,” it could not

 stand under Jones & Laughlin Steel Corp.’s progeny. Id. at 561. But the Court in Lopez did not

 explicitly appear to require such a regulatory regime in all inquiries under the aggregate effects

 theory of Congress’s commerce power. See id.

        Further, the Supreme Court determined that there existed no rational basis for Congress

 to conclude that possession of a firearm in a school zone substantially impacted interstate

 commerce. Id. at 564–65. The Government argued that such a rational basis existed for two

 principal reasons. First, the Government submitted that “possession of a firearm in a school zone

 may result in violent crime” and “the costs of violent crime” are spread through the population

 through insurance. Id. at 564. Second, it argued that “the presence of guns in schools poses a

 substantial threat to the educational process by threatening the learning environment.” Id.

 Consequently, the Government argued, the possession of firearms in school zones would result in

 a “less productive citizenry” that would impact the national economy. Id. The Supreme Court

 rejected these arguments as devoid of any limiting principle that would bulwark congressional




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 attempts to legislate in the realm of criminal law and education—arenas where States maintain

 sovereign status and historically legislate on such matters. See id.

        The Supreme Court crystalized this framework further in United States v. Morrison, in

 which the Court considered the constitutionality of a provision of the Violence Against Women

 Act, which provided a civil remedy for victims of gender-motivated violence. 529 U.S. at 601–02.

 The Court struck down the provision as outside of Congress’s commerce power, determining that

 the statute regulated a noneconomic activity (gender-motivated violence) without a jurisdictional

 hook that would tie gender-motivated violence to interstate commerce. Id. at 613. Additionally, the

 potential impact that gender-motivated violence might have on interstate commerce was far too

 attenuated to pass constitutional muster under an aggregate effects analysis. Id. at 615. Once more,

 upholding the statute would have invited Congress to invade the province of the States to exercise

 their police power as they see fit. Id. at 617–18. The Court did not analyze whether the statute’s

 absence would undercut a regulatory regime.

        In Gonzales v. Raich, the Supreme Court returned to the framework it espoused in Lopez

 and Morrison, further clarifying it. Raich concerned a challenge to the Controlled Substances Act

 (“CSA”) “to the extent it prevent[ed] [plaintiffs] from possessing, obtaining, or manufacturing

 cannabis for their personal medicinal use” as was legal under California law. 545 U.S. at 7.

 Specifically, the plaintiffs argued that the “CSA’s categorical prohibition of the manufacture and

 possession of marijuana as applied to the intrastate manufacture and possession of marijuana for

 medical purposes pursuant to California law exceeds Congress’s authority under the Commerce

 Clause.” Id. at 15. The Court upheld the CSA, determining that the Commerce Clause permitted

 Congress to reach local, intrastate production and consumption of marijuana because it is a



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 “fungible commodity for which there is an established, albeit illegal, interstate market.” Id. at 17.

 Thus, “Congress had a rational basis for concluding that leaving home-consumed marijuana

 outside federal control would . . . affect price and market conditions.” Id. Further, it concluded

 that Congress’s attempt to regulate the national (illicit) market for marijuana would have been

 hampered, if not fully undercut, if the Commerce Clause did not reach intrastate possession and

 consumption of marijuana. Id. at 19.

         Given this precedent, two principal rules emerge, one relating to when Congress can

 regulate economic activity, the other relating to when Congress may regulate non-economic

 activity. First, Congress may regulate intrastate activity if the statute facially regulates an economic

 activity and the Court determines that a “rational basis” exists for Congress to conclude that that

 activity, aggregated with all its iterations “substantially affects interstate commerce.” Id. at 22;

 Lopez, 514 U.S. at 557. Second, “while thus far in our Nation’s history [the Supreme Court has]

 upheld . . . regulation of intrastate activity only where that activity is economic in nature,”

 Congress may still regulate non-economic activity. Taylor v. United States, 579 U.S. 301, 306

 (quoting Morrison, 529 U.S. at 613). Congress may do so if: (1) the Court concludes there is a

 rational basis for Congress to determine that the regulation of the activity substantially impacts

 interstate commerce; (2) the regulation serves a comprehensive regulatory regime; and

 (3) regulation of that non-economic activity is necessary to preserve that broader regulatory

 regime. See Lopez, 514 U.S. at 561; Morrison, 529 U.S. at 610; see also NSBU v. Yellen, 721 F. Supp.

 3d at 1280–81. In this non-economic category of regulation, the Court also looks to whether the

 statute contains a jurisdictional hook, and whether Congress provided any findings regarding the

 impact the activity might have on commerce. See Lopez, 514 U.S. at 561–63; Morrison, 529 U.S.



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 614. In both inquiries, courts must consider the Commerce Clause through the lens of our dual

 system of government and cannot extend its reach to embrace activities that “would effectually

 obliterate the distinction between what is national and what is local and create a completely

 centralized government.” Lopez, 514 U.S. at 557 (internal quotations omitted).

        Against this backdrop, the first question is whether the activity of “anonymous corporate

 existence and operation” constitutes an economic activity. Unlike possession of a firearm in a

 school-zone, Lopez, 514 U.S. at 561, or gender motivated violence, Morrison, 529 U.S. at 614, the

 anonymous existence and operation of corporations appears to have at least something to do with

 commerce. But not to the same extent as Wickard and Raich, both of which involved fungible

 commodities and actual markets for that good. See Wickard, 317 U.S. at 129; Raich, 545 U.S. at 19.

 Nonetheless, it is rational for Congress to believe that registered entities, in their natural state of

 anonymous existence, and whatever operations they may carry out, would substantially impact

 interstate commerce. See Raich, 545 U.S. at 22; Lopez, 514 U.S. at 557. But, when considered in

 light of our dual system of government, Congress’s commerce power cannot reach this far. If the

 Court were to sanction such an extension of legislative power today, then there is no telling how

 Congress would control companies tomorrow. The fact that a company is a company does not

 knight Congress with some supreme power to regulate them in all aspects—especially through the

 CTA, which does not facially regulate commerce. See NSBU v. Yellen, 721 F. Supp. 3d at 1285.

 This is especially true when such regulations are generally entrusted to the States. See CTS Corp.

 v. Dynamics Corp. of Am., 481 U.S. 69, 89 (1987) (“No principle of corporation law and practice is

 more firmly established than a State’s authority to regulate domestic corporations.”). Even when

 measured against Wickard, “the most far-reaching example of Commerce Clause authority over



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 interstate activity,” the CTA fails. See Lopez, 514 U.S. at 560. There is no fungible good at issue in

 the CTA. See 31 U.S.C. § 5336. And unlike Wickard, the CTA does not aim to regulate some issue

 of supply and demand. Compare id. with Wickard, 317 U.S. at 127–28. The CTA regulates reporting

 companies, simply because they are registered entities, and compels the disclosure of information

 for a law enforcement purpose. See 31 U.S.C. § 5336. No such regulation has been sustained under

 the Commerce Clause. The Court sees no reason to expand centuries of precedent such that this

 case should yield a different result.7 Upholding the CTA would require the Court to rubber-stamp

 what appears to be a substantial expansion of commerce power. This, the Court will not do.

 The Necessary and Proper Clause

          Having established that the Commerce Clause does not justify the CTA, the Court turns

 to the final arrow in the Government’s quiver: the Necessary and Proper Clause—its “last, best

 hope.” See Printz v. United States, 521 U.S. 898, 923 (1997). If the Necessary and Proper Clause

 does not authorize the CTA, then Plaintiffs have shown a substantial likelihood of success on the

 merits on their enumerated powers challenge, warranting issuance of injunctive relief.

          Though our Constitution is written, and though our Government is of enumerated powers,

 “a government entrusted with such powers must also be entrusted with ample means for their

 execution.” Comstock, 560 U.S. at 133 (internal quotations omitted). The Framers knew this. As a

 result, the Necessary and Proper Clause appears written in our Constitution, vesting Congress

 with the power “[t]o make all Laws which shall be necessary and proper for carrying into Execution


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   The Court sees no need to conduct an additional, alternative analysis assuming that the CTA regulates a non-
 economic activity, which would require the Court to analyze whether the CTA has a jurisdictional hook, Congress’s
 findings in the CTA related to commerce, and whether the CTA is part of a comprehensive regulatory regime that
 might be undermined absent the CTA. See Lopez, 514 U.S. at 561; Morrison, 529 U.S. at 610; see also NSBU v. Yellen,
 721 F. Supp. 3d at 1280–81. Still, it is worth noting that the CTA is devoid of any jurisdictional hook that would ensure
 its sweep would only apply to companies engaged in interstate commerce. See 31 U.S.C. § 5336; NSBU v. Yellen, 721 F.
 Supp. 3d at 1286.

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 [Congress’s enumerated] Powers, and all other powers vested by this Constitution in the

 Government of the United States, or in any Department or Officer thereof.” U.S. CONST. art. I,

 § 8, cl. 18. This power gives the Legislative Branch “the authority to enact provisions ‘incidental

 to [an] enumerated power, and conducive to its beneficial exercise.’” NFIB v. Sebelius, 567 U.S. at

 559 (quoting M’Culloch, 17 U.S. at 418). While the Supreme Court has defined the contours of the

 Necessary and Proper Clause such that Congress may “legislate on that vast mass of incidental

 powers which must be involved in the [C]onstitution, it does not license the exercise of any ‘great

 substantive and independent powers’ beyond those specifically enumerated.” Id. (quoting

 M’Culloch, 17 U.S. at 418). Indeed, courts are “responsibl[e] to declare unconstitutional those laws

 that undermine the structure of government established by the Constitution” as any such law does

 not constitute “proper means for carrying into execution Congress’s enumerated powers.”

 Sebelius, 567 U.S. at 559 (internal quotations omitted) (cleaned up).

        To be effective, Congress must invoke the Necessary and Proper Clause in tandem with an

 enumerated power. Thus, “in determining whether the Necessary and Proper Clause grants

 Congress the legislative authority to enact a particular federal statute, [the Court] look[s] to see

 whether the statute constitutes a means that is rationally related to the implementation of a

 constitutionally enumerated power.” Comstock, 560 U.S. at 134 (citing Sbari v. United States, 541

 U.S. 600, 605 (2004)). This “means-end rationality” is not a high bar. As Chief Justice Marshall

 declared in an oft-quoted passage: “[l]et the end be legitimate, let it be within the scope of the

 [C]onstitution, and all means which are appropriate, which are plainly adapted to that end, which

 are not prohibited, but consist with the letter and spirit of the [C]onstitution, are constitutional.”

 McCulloch, 17 U.S. at 421. Thus, the Court has upheld statutes that are “convenient,” “useful,”



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 or “conducive” to an enumerated power’s “beneficial exercise.” Sebelius, 567 U.S. at 559 (internal

 citations omitted). But this standard is a bar, no less. Deference given to Congress, once more,

 cannot become an abandonment of the judicial responsibility to strike down ultra vires

 congressional actions as “‘mere[] acts of usurpation’ which ‘deserve to be treated as such.” Id.

 (quoting Printz, 521 U.S. at 924).

        Within this framework, the Government urges the Court to take one of three avenues to

 arrive at the conclusion that the CTA is within the reach of Congress’s powers. Behind door

 number one: the Necessary and Proper Clause in service of Congress’s power to regulate

 commerce (Dkt. #18 at p. 29). Behind door number two: The Necessary and Proper Clause in

 conjunction with Congress’s power to regulate foreign affairs and further its national security

 interests (Dkt. #18 at p. 30–31). And behind the third door: the Necessary and Proper Clause in

 tandem with Congress’s authority to lay and collect taxes (Dkt. #18 at p. 32). The Court opens

 each door in turn but shuts them all. The CTA finds no constitutional solace behind any door.

        a.      The Commerce Clause and the Necessary and Proper Clause

        The Court begins with Congress’s power under the Commerce Clause and can dispose of

 it easily. As discussed, “the Constitution grants Congress to ‘regulate [c]ommerce.’” NFIB v.

 Sebelius, 567 U.S. at 549 (quoting U.S. CONST. Art. I., § 8, cl. 3) (emphasis in original). That

 regulatory power presumes the existence of a prerequisite activity. Id. Just as the Government’s

 justification of the CTA as a raw exercise of commerce power would result in a severe expansion

 of Congress’s power, the Government’s logic under the Necessary and Proper Clause would

 justify a mandatory disclosure requirement “to solve almost any problem.” See id. at 543.

 Requiring companies to disclose otherwise private information to the Government simply because

 those companies exist in their natural state does not derive from Congress’s raw commerce power.

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 See id. at 560; Comstock, 560 U.S. at 134. It is “in no way an authority that is ‘narrow in scope’ or

 ‘incidental’ to the exercise of the commerce power. See NFIB v. Sebelius, 567 U.S. at 561 (citing

 Comstock, 560 U.S. at 148; M’Culloch, 17 U.S. at 418). The Court declines to authorize it as a

 necessary and proper use of Congress’s commerce power precisely because to do so would be to

 ignore the crux of the Necessary and Proper Clause, which is not an exercise of any “great

 substantive and independent power.” See 17 U.S. at 411.

        The Government suggests that Congress’s power under the Necessary and Proper Clause

 is even greater because the CTA covers foreign commerce (See Dkt. #18 at p. 29). That argument

 is not persuasive. While the Constitution grants Congress the power to “regulate [c]ommerce with

 foreign Nations,” U.S. CONST. Art. I., § 8, cl. 3., that power is still regulatory in nature as a matter

 of the Constitution’s plaint text. Thus, though “the ‘founders intended the scope of the foreign

 commerce power to be . . . greater’ than the interstate commerce power,” that the CTA impacts

 foreign reporting companies as well as domestic ones does nothing to mollify the grave

 constitutional concern that the CTA does not regulate an activity at all (Dkt. #18 at p. 29) (quoting

 Japan Line, Ltd. v. Cnty. of Los Angeles, 441 U.S. 434, 448 (1979)). See NFIB v. Sebelius, 567 U.S.

 at 561 (citing Comstock, 560 U.S. at 148; McCulloch, 17 U.S. at 418). Thus, the CTA cannot be

 upheld as a necessary and proper component of Congress’s commerce power.

        b.      Foreign Affairs Power and the Necessary and Proper Clause

        Next, the Court assesses whether the CTA falls within the scope of Congress’s power to

 regulate foreign affairs as modified by the Necessary and Proper Clause. The Government

 proclaims that Congress has the authority to pass the CTA because it has “‘broad power under

 the Necessary and Proper Clause to enact legislation for the regulation of foreign affairs’” and

 pertaining to national security (Dkt. #18 at p. 30) (quoting Kennedy v. Martinez, 372 U.S. 144, 160

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 (1963)). Directing the Court to a slew of immigration-related cases, the Government asserts that

 the CTA is valid under the Necessary and Proper Clause because Congress may legislate to protect

 the Nation’s national security interests and in furtherance of the President’s power to execute the

 law (Dkt. #18 at pp. 30–31).

        In further support, the Government leans on Congress’s findings enumerated in the

 NDAA, which discuss the CTA’s impact on foreign actors. As the Government notes, two of

 Congress’s findings are salient to this inquiry (Dkt. #18 at p. 30). First:

        Malign actors seek to conceal their ownership of corporations, limited liability
        companies, or other similar entities in the United States to facilitate illicit activity,
        . . . harming the national security interests of the United States and the allies of the
        United States[.]

 NDAA § 6402(3). Second, the Government calls attention to Congress’s determination that:

            Federal legislation providing for the collection of beneficial ownership
            information for corporations, limited liability companies, or other similar
            entities formed under the laws of the States is needed to . . . protect vital United
            States national security interests; better enable critical national security,
            intelligence, and law enforcement efforts to counter money laundering, the
            financing of terrorism, and other illicit activity; and bring the United States into
            compliance with international anti-money laundering and countering the
            financing of terrorism standards.

 NDAA § 6402(5) (cleaned up). According to the Government, the sum of these findings,

 Congress’s foreign affairs powers, and the Necessary and Proper Clause bring the CTA within

 Congress’s regulatory wingspan.

        Plaintiffs, for their part, argue that the CTA is a “purely domestic statute, affecting only

 entities that are registered to do business domestically, and only requires that these entities file a

 report with the [F]ederal [G]overnment” (Dkt. #6 at p. 12). Plaintiffs also note that the CTA does

 not purport to serve a treaty or international agreement (Dkt. #6 at p. 12). Further, Plaintiffs argue


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 that, should the Court accept the “incidental” connection to international affairs the Government

 relies upon to make its argument, then the Court would run headlong into the warning the Supreme

 Court issued in United States v. Bond, through which the Court cautioned against allowing an

 alleged exercise of foreign affairs power to trammel upon states’ police power. (Dkt. #6 at p. 12)

 (citing 572 U.S. 844 (2014)). As set forth below, Plaintiffs are correct.

        The Court begins its analysis by determining whether the inquiry before it is truly one of

 foreign affairs. Only then can the Court turn to the authority the Government relies upon in its

 Response. Once more, first principles appear an appropriate place to begin. “Matters relating ‘to

 the conduct of foreign relations . . . are so exclusively entrusted to the political branches of

 government as to be largely immune from judicial inquiry or interference.’” Regan v. Wald, 468

 U.S. 222, 242 (1984) (quoting Harisiades v. Shaughnessy, 342 U.S. 580, 589 (1952)). That principle

 makes sense as these matters involve “decisions of a kind for which the Judiciary has neither the

 aptitude, facilities, nor responsibility and which have been long held to belong in the domain of

 political power.” Chicago & S. Air Lines v. Waterman S. S. Corp., 333 U.S. 103, 111 (1948). But as

 with each inquiry performed in this case, the Court’s “deference in matters of policy cannot,

 however, become abdications in matters of law.” NFIB v. Sebelius, 567 U.S. at 538.

        Congress’s foreign affairs powers are not express in Article I of the Constitution, other than

 the clauses stating that Congress may “regulate commerce with foreign nations,” “Establish an

 uniform Rule of Naturalization,” “declare war,” “raise and support armies,” “provide and

 maintain a navy,” and “make rules for the [G]overnment and regulation of the land and naval

 forces.” U.S. CONST. art. I., § 8, cls. 3, 4, 11, 12, 13, 14. No less, “[a]lthough there is in the

 Constitution no specific grant to Congress of power to enact legislation for the effective regulation



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 of foreign affairs, there can be no doubt of the existence of this power in the law-making organ of

 our Nation. Perez v. Brownell, 356 U.S. 44, 57 (1958), overruled on other grounds by Afroyim v. Rusk,

 387 U.S. 253 (1967). But that power is far from plenary and does not extend to purely domestic

 matters. See United States v. Curtiss-Wright Exp. Corp., 299 U.S. 304, 315–16 (1936). Further, as

 the District Court for the Northern District of Alabama observed in analyzing Congress’s foreign

 affairs power as applied to the CTA, the precise contours of Congress’s foreign affairs power need

 not be defined to determine that the CTA is in no way connected to whatever authority over foreign

 affairs Congress might have. See NSBU v. Yellen, 721 F. Supp. 3d at 1273. This is because the CTA

 regulates internal matters—not foreign ones, negating an inquiry into a potential political question

 involving the CTA.

        In matters involving foreign affairs, the Government is not limited by the Constitution’s

 enumerated powers. See id. (citing Curtiss-Wright Exp. Corp., 299 U.S. at 315–16). Indeed, the

 Supreme Court has made clear that “[t]he broad statement that the federal government can

 exercise no powers except those specifically enumerated in the Constitution, and such implied

 powers as are necessary and proper to carry into effect the enumerated powers, is categorically true

 only in respect to our internal affairs.” Curtiss-Wright Exp. Corp., 299 U.S. at 315–16. This principle

 drove the Supreme Court to uphold a statute which gave the president the power to declare an

 embargo on foreign arms. See id. at 329. Here, that principle demands the Court answer the

 threshold question of whether the subject of the CTA’s regulation—the anonymous existence and

 operation of reporting companies—is an internal (domestic) or external (foreign) matter. See id.

         The CTA’s text provides an answer. The CTA, by its very language, does not regulate any

 issue of foreign affairs. It regulates a domestic issue: anonymous existence of companies registered



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 to do business in a U.S. state and their potential conduct. See 31 U.S.C. § 5336. It bears repeating,

 a reporting company subject to the CTA is an entity that is either: (1) “created by the filing of a

 document with a secretary of state or similar office under the law of a State or Indian Tribe”; or

 (2) “formed under the law of a foreign country and registered to do business in the United States by

 the filing of a document with a secretary of state or a similar office under the laws of a State or Indian

 Tribe.” Id. § 5336(a)(11) (emphasis added). These entities, though special under the CTA as

 reporting companies, remain “creatures of state law.” Santa Fe Indus. v. Green, 430 U.S. 462, 479

 (1977); Cort v. Ash, 422 U.S. 66, 84 (1975), abrogated on other grounds by Touche Ross & Co. v.

 Redington, 442 U.S. 560 (1979); see Standard Oil Co. of Tex. v. United States, 307 F.2d 120, 127 (5th

 Cir. 1962); NSBU v. Yellen, 721 F. Supp. 3d at 1273. As the Court has already noted, “[n]o principle

 of corporation law and practice is more firmly established than a State’s authority to regulate

 domestic corporations.” NSBU v. Yellen, 721 F. Supp. 3d at 1273 (quoting CTS Corp., 481 U.S. at

 89). History confirms that our Founding Fathers believed just the same. Id. (“Although the

 Founders ‘were aware that leaving business regulation primarily to the individual states might

 cause friction within the overall American economy, they were more reluctant . . . to allow

 concentrations of economic power, which they visualized as a government-sponsored monopoly,

 and therefore chose’ to leave incorporation to the States.”) (quoting Allen D. Boyer, Federalism

 and Corporation Law: Drawing the Line in State Takeover Regulation, 47 OHIO ST. L. J. 1037, 1041

 (1986)) (cleaned up). Thus, here, Congress is bound by our written Constitution and the

 enumerated powers with which it provides Congress. See Curtiss-Wright Exp. Corp., 299 U.S. at

 315–16.




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         There is scant, if any, history or precedent to suggest that whatever foreign affairs powers

 Congress might possess under the Necessary and Proper Clause can reach the domestic issue of

 entities registered to do business under state law. The authority the Government does provide does

 nothing to bolster its argument. Kennedy v. Mendoza-Martinez involved the constitutionality of a

 statute that functioned to divest an American of his citizenship as a consequence for draft-dodging,

 which the Supreme Court struck down as failing to provide sufficient safeguards to comport with

 due process requirements. See 372 U.S. 144, 146 (1963). The Court did not grapple with Congress’s

 power to enact those statutes, which facially appear to derive from Congress’s enumerated power

 over citizenship. See U.S. CONST. art. I, § 8, cl. 4.

         Hernandez v. Mesa, another case that the Government relies upon, involved a cross-border

 shooting. 589 U.S. 93, 96 (2020). There, the Court declined to create a damages remedy for a cross-

 border shooting by extending its prior precedent, Bivens v. Six Unknown Fed. Narcotics Agents, 403

 U.S. 388 (1971), which permitted a victim of unlawful arrest and search to assert a claim under the

 Fourth Amendment for damages in the absence of a statute authorizing this type of claim. Id. at 96.

 The Supreme Court defined a cross-border shooting as, “by definition an international incident.”

 Id. at 104. That is very different than the monitoring of domestic entities, which is what the CTA

 does. See 31 U.S.C. § 5336. At any rate, Hernandez did not contemplate Congress’s power to

 legislate, though it reaffirmed the notion that courts should not intrude upon matters of foreign

 relations. See Hernandez, 589 U.S. at 104.

         Next, the Government cites United States v. Di Re, a case involving the constitutionality of

 a search of an individual convicted of possessing counterfeit gasoline coupons in violation of the

 Second War Powers Act of 1942—a matter inapplicable to this case. 332 U.S. 581, 582–83 (1948).



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 The Government relies on it, however, not as analogous, but in conjunction with Holder v.

 Humanitarian Law Project, 561 U.S. 1, 33–34 (2010), to say that a legislative act of Congress is

 presumed constitutional, and that that presumption is “heightened” where it involves matters of

 national security and foreign affairs (Dkt. #18 at p. 30). The Court does not dispute that premise.

 Instead, the Court notes that a heightened presumption does not apply simply because the

 Government says so. Neither does Holder suggest that it applies to the CTA, which the Court has

 already determined regulates a domestic matter. Holder involved constitutional challenges for

 vagueness and under the First Amendment to a statute criminalizing the provision of material

 support to terrorist organizations and delegating to the Secretary of State the authority to designate

 an entity a “foreign terrorist organization.” See 561 U.S. at 7–9. There is no dispute that that the

 Court is not equipped to determine what constitutes a foreign terrorist organization. See id. at 33–

 34. But this case does not contemplate that question any more than it considers a foreign issue.

 The Court need not apply a heightened presumption to the CTA and Reporting Rule.

        The final case the Government relies upon is Curtiss Wright Exp. Corp., 299 U.S. at 318, to

 support its position that Congress may pass legislation that furthers its foreign affairs powers, as

 well as the President’s (Dkt. #18 at p. 31). That case, as already established, removes the CTA

 from an inquiry under Congress’s necessary and proper foreign affairs power as the CTA does not

 regulate a foreign issue. See Curtiss Wright Exp. Corp., 299 U.S. at 299. Thus, the Court turns to

 the ultimate question of whether the CTA can be justified by Congress’s power to regulate foreign

 affairs when the CTA only regulates a local matter. It cannot.

        On this point, Plaintiffs direct the Court to Bond v. United States, a Supreme Court case

 that is not directly on point, but is helpful in analyzing the limiting principle of Congress’s implied



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 power over foreign affairs (Dkt. #6 at p. 11–12) (citing 572 U.S. 844 (2014)). See also NSBU v.

 Yellen, 721 F. Supp. 3d at 1275 (applying Bond in the same context). Plaintiff suggests that Bond

 limits the scope of international legislation to exclude domestic issues (See Dkt. #6 at p. 11). The

 facts of Bond are these: First, in 1997, the United States ratified the International Convention on

 Chemical Weapons pursuant to the Federal Government’s power to make treaties—an

 enumerated power. 572 U.S. at 848. Subsequently, in accordance with the United States’s

 obligations under the treaty, Congress enacted the Chemical Weapons Convention

 Implementation Act of 1998, which “ma[d]e it a federal crime for a person to use or possess any

 chemical weapon, and . . . punishe[d] violators with severe penalties.” Id. Thereafter, a

 microbiologist from Pennsylvania discovered that her husband had an extramarital affair with her

 close friend, resulting in the friend’s pregnancy. Id. at 852. Seeking revenge, the microbiologist

 took several chemicals from her employer, a chemical manufacturer, and dispersed them on her

 friend’s car door, mailbox, and doorknobs. Id. The friend suffered a “minor chemical burn on her

 thumb.” Id. For this, the Government charged the microbiologist with violating the Chemical

 Weapons Convention Implementation Act. Id. at 852–53. After pleading guilty, the microbiologist

 appealed, arguing that the Implementation Act exceeded Congress’s enumerated powers. Id.

        The Supreme Court overturned her conviction and held that the Chemical Weapons Act

 did not “reach purely local crimes.” Id. at 860, 866. In arriving at its holding, the Court relied on

 fundamental federalist principles, remarking that “[b]ecause our constitutional structure leaves

 local criminal activity primarily to the States, [the Court has] generally declined to read federal law

 as intruding on that responsibility” absent a clear indication from Congress. Id. at 848. The Court




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 also rejected an argument that the prosecution was a necessary and proper means of executing the

 National Government’s enumerated power to make treaties. Id. at 855.

        As the district court in NSBU v. Yellen correctly observed, Bond involved a matter of

 statutory interpretation, not constitutional interpretation. See NSBU v. Yellen, 721 F. Supp. 3d at

 1275. The Government attempts to distinguish Bond on this basis (Dkt. #18 at p. 31). But no less,

 Bond’s principle that foreign affairs powers generally may not reach local issues remains true and

 applicable to this case. The Government seeks to justify the CTA as reaching the local issue of

 companies who register to do business with a particular state. See 31 U.S.C. § 5336. Affirming the

 constitutionality of the CTA on the basis of foreign affairs would permit Congress to reach into the

 states and regulate whatever it wants simply by pointing to some vague nexus between the statute

 at issue and a potential foreign actor. That theory stretches the fabric of our dual system of

 government too thin to pass constitutional muster. See NSBU v. Yellen, 721 F. Supp. 3d at 1275.

        If the CTA is not a raw exercise of Congress’s foreign affairs power, then the

 Government’s only hope is the Necessary and Proper Clause. Once more, “in determining

 whether the Necessary and Proper Clause grants Congress the legislative authority to enact a

 particular federal statute,” the inquiry centers on “whether the statute constitutes a means that is

 rationally related to the implementation of a constitutionally enumerated power.” Comstock, 560

 U.S. at 134 (emphasis added). The Government has yet to identify a single enumerated foreign

 affairs power that shares a nexus with the CTA. It notes that Congress believes the CTA is

 necessary to “‘bring the United States into compliance with international anti-money laundering

 and countering financing of terrorism standards’” (Dkt. #18 at p. 30) (quoting NDAA § 6402(5)).

 But at the Court’s hearing on October 9, the Court asked the Government whether the CTA was



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 linked to a treaty. The Government responded in the negative. And the Court pressed the parties

 on which “international standards” the CTA would help the United States to comply with. Once

 more, no party could offer an answer. In Bond, the Court declined to apply a law passed pursuant

 to a treaty to a purely domestic issue. See Bond, 572 U.S. 855. Here, there is no treaty. See 31 U.S.C.

 § 5336. And while there is a passing reference to an “international standard” Congress may strive

 to comply with, Congressional findings alone are insufficient to bring the CTA within Congress’s

 necessary and proper power. The Government has not provided any authority to the contrary.

 There is simply no enumerated power the Government can identify that would justify the CTA,

 barring the Court from affirming the CTA as justified by the Necessary and Proper Clause. See

 Comstock, 560 U.S. at 134.

        The Government has not provided any support—and there appears to be no support—for

 the proposition that Congress may legislate in arenas traditionally controlled by the states simply

 because it has made findings that make passing mention to an international impact. See NSBU v.

 Yellen, 721 F. Supp. 3d at 1275. And while Congress’s findings in the NDAA include reference to

 “national security,” “foreign affairs,” and “international standards,” Congress cannot invoke its

 foreign affairs powers to regulate a domestic issue simply because it waves the magic wand of ipse

 dixit. “Compliance with international standards may be good policy, but it is not enough to make

 the CTA ‘necessary’ or ‘proper.’” Id. at 1276. There does not appear to be a single enumerated,

 foreign affairs power to which the CTA can legitimately be linked. That is fatal to the

 Government’s argument on this point. See Comstock, 560 U.S. at 134. Thus, the Court must turn

 to the Government’s final argument that the CTA is within Congress’s enumerated powers.




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          c.       Taxing Power and the Necessary and Proper Clause

          Backed into the corner with one remaining card up its sleeve, the Government’s final

 argument is that the CTA is a valid exercise of Congress’s power to lay and collect taxes, as

 expanded by the Necessary and Proper Clause (See Dkt. #18 at p. 33). The Constitution confers

 upon Congress the power to “lay and collect taxes.” U.S. CONST. art. I, § 8, cl. 8. The Government

 wisely concedes that the CTA—in no way, shape, or form—is a tax (Dkt. #18 at p. 33).8 Instead, it

 argues that because the CTA is “in aid of a revenue purpose,” that is, it helps to “facilitate tax

 collection,” the CTA is constitutional as an exercise of Congress’s power to enact laws necessary

 and proper to enforce its taxing scheme (Dkt. #18 at p. 32) (internal citations omitted). The Court

 disagrees. As the Sections below demonstrate, this final card does not arm the Government’s hand

 with a royal flush to conquer Plaintiffs’ arguments.

          The Government notes that “Congress determined that the lack of beneficial ownership

 information allows criminals to obscure their income and assets and thus ‘facilitates . . . serious tax

 fraud’” (Dkt. #18 at p. 32) (quoting NDAA § 6402(3)). Because Congress determined that the

 CTA’s mandated beneficial ownership reports “would be ‘highly useful’ in detecting tax fraud

 and improving ‘tax administration’ generally,” the CTA is a valid exercise of Congress’s power to

 legislate in furtherance of and adjacent to its tax scheme under the Necessary and Proper Clause,

 so the argument goes (Dkt. #18 at p. 32) (quoting 31 U.S.C. §§ 5336(a)(11)(xxiv)(ii), (c)(5)(B)).

 Plaintiffs, in contrast, contend that the Government’s hypothesis would result in a “‘substantial



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  The “essential feature” of a tax is that it “produces at least some revenue for the Government.” Sebelius, 567 U.S. at
 564 (citing United States v. Kahriger, 345 U.S. 22, 28 n.4 (1953)). On its face, the CTA does not create any revenue for
 the Government whatsoever. See generally 31 U.S.C. § 5336. Thus, the Government cannot reasonably seek to justify
 passage of the CTA through a contrary argument. Neither does the Government contend that the CTA’s penalty
 provisions render the CTA a valid exercise of Congress’s taxing power (See Dkt. #18 at p. 32). See also NSBU v. Yellen,
 2024 WL 899372, at *20.

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 expansion of federal authority’” that breaks the boundaries of Congress’s taxing and necessary

 and proper powers (Dkt. #6 at p. 17) (quoting NSBU v. Yellen, 2024 WL 899372, at *21)). The

 Court agrees with Plaintiffs.

        The Court first turns to the four cases the Government cites in furtherance of its arguments

 on this point. But the authority the Government relies upon does little to justify the CTA as an act

 “derivative” of its power to lay and collect taxes such that the Necessary and Proper Clause can

 bridge the gap to constitutionality (See Dkt. #18 at p. 32). Comstock, 560 U.S. at 147. First comes

 Sonzinsky v. United States, which the Government cites for the proposition that Congress may

 legislate “in aid of a revenue purpose” (See Dkt. #18 at p. 32) (citing 300 U.S. 506, 513 (1937)).

 There, the Supreme Court upheld a law that imposed a special tax and registration requirement on

 dealers of firearms as authorized by Congress’s taxing power. Sonzinsky, 300 U.S. at 511. True

 enough, the Supreme Court stated in dicta that those “registration provisions . . . [were] obviously

 in aid of a revenue purpose.” Id. at 513. But it did not determine for the ages, as the Government

 suggests, that Congress can pass any regulation it wishes, so long as Congress can point to a

 “revenue purpose” it might serve. See id. Instead, that special excise tax—which the statute

 created—“on its face” was a taxing measure, with a consequential deterrent effect on the keeping

 of the particular type of firearm at issue in that case. Id. The Supreme Court held that a taxing

 measure is not outside of Congress’s taxing power simply because it carries a consequential,

 deterrent effect. Id. And in coming to that determination, the Supreme Court did not consider the

 Necessary and Proper Clause. See id.

        Second, the Government cites Helvering v. Mitchell for the same proposition, though that

 case too says nothing about the Necessary and Proper Clause (Dkt. #18 at p. 32) (citing 303 U.S.



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 391, 399 (1938)). Helvering involved the Revenue Act of 1928 as it related to deficiencies on income

 tax returns. 303 U.S. at 392. The Act provided that if an individual’s tax returns were deficient due

 to fraud, then that individual must pay half of the amount of the deficiency (in addition to the

 deficiency). Id. The question before the Supreme Court was whether this provision imposed a

 criminal penalty such that payment on the deficiency would be barred by double jeopardy. Id. at

 398–400. The Supreme Court answered in the negative and held that the provision was a tax. Id.

 at 402. Thus, as in Sonzinsky, a tax that generates revenue is not unconstitutional simply because

 it carries with it some regulatory measure. Id. at 399–400. Like Sonzinksy, Helvering does not

 purport to suggest that Congress may legislate however it wants because such legislation might

 deter tax fraud. See id.

         Next, the Government relies upon CIC Servs., LLC v. IRS and California Bankers Ass’n v.

 Shultz for the proposition that “Congress has given the ‘IRS broad power to require the submission

 of tax-related information that it believes helpful in assessing and collecting taxes’” (Dkt. #18 at p.

 32) (quoting CIC Servs., LLC, 593 U.S. 209, 212 (2021)) (citing California Bankers Ass’n, 416 U.S.

 21, 26 (1974)). Indeed, the Supreme Court in CIC Servs., LLC did say just that. 593 U.S. at 212.

 But once more, the context of that case does not render it dispositive on the CTA’s

 constitutionality. There, plaintiffs challenged under the APA the enforcement of an IRS notice that

 would require taxpayers and material advisors to report information about a particular type of

 transaction. Id. at 213–15. The issue before the Court was whether the “Anti-Injunction Act

 bar[red] [the plaintiffs’] suit” under the APA. Id. at 216. The answer to that question does little to

 answer the one that now captivates the Court, other than to say that “information gathering . . . is

 a phase of tax administration that occurs before assessment or collection.” See CIC Servs., LLC,



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 593 U.S. at 216 (internal quotations omitted). Therefore, information gathering is separate and

 apart from a tax itself. See id.; Direct Mktg. Ass’n v. Brohl, 575 U.S. 1, 8 (2015).

         California Bankers Ass’n v. Shultz, which also does not concern the Necessary and Proper

 Clause, also does little to advance the Government’s argument. At issue in Shultz was the

 constitutionality of the Bank Secrecy Act of 1970. 416 U.S. at 25. Part of that Act required

 “financial institutions to maintain records of the identities of their customers, to make microfilm

 copies of certain checks drawn on them, and to keep records of certain other items.” Id. at 29. The

 Supreme Court noted that the purpose of these provisions was to compel the maintenance of

 reports that “have a high degree of usefulness in criminal, tax, or regulatory investigations

 proceedings.” Id. at 26. The Court did not address the Bank Secrecy Act’s propriety under

 Congress’s taxing power, but instead entertained challenges under the First, Fourth, and Fifth

 Amendments to the Constitution. See id. at 49–78. Again, this does not assist the Court in assessing

 the CTA as an ancillary exercise of Congress’s taxing power.

         The Government finally turns to United States v. Matthews for the proposition that a

 regulation need not be paired with a concurrent tax to be a valid exercise of Congress’s power to

 lay taxes (Dkt. #18 at p. 32) (citing 438 F.2d 715, 717 (5th Cir. 1971)). But Matthews says just the

 opposite. The line to which the Government refers fully states that “[i]f the registration

 requirement was not offensive when coupled with a concurrent tax, it is not offensive when

 designed to aid the collection of tax on any future transfer of the registered item.” Matthews, 438

 F.2d at 717. To clarify the context in which this line appears, in Matthews, an individual had been

 convicted of unlawful possession of a firearm not registered to him in a national registry, as required

 under the Gun Control Act of 1968. Matthews, 438 F.2d at 715. He argued that the statute under



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 which he was convicted was not constitutional because it was not an “appropriate and necessary

 aid to the reasonable enforcement of a valid revenue measure.” Id. at 716. To him, such a challenge

 made sense because the statute under which he was convicted did not carry with it a tax. Id. The

 Court disagreed, noting that there was, in fact, a tax levied against individuals who kept such

 firearms. See id. at 717. Once more, just as in Helvering and Sonzinsky, that case suggests that a tax

 that generates revenue is not unconstitutional simply because it carries with it some regulatory

 measure. See id. at 716.

        Even going beyond the authority the Government cites in its Response, precedent is

 consistent with these modest holdings. See, e.g., United States v. Doremus, 249 U.S. 86, 92 (1919)

 (upholding Harrison Narcotic Drug Act that taxed sale of drugs to authorized individuals and

 stating that “[t]he Act may not be declared unconstitutional because its effect may be to

 accomplish another purpose as well as the raising of revenue”) (emphasis added); United States v.

 Kahriger, 345 U.S. 22 (1953), overruled on other grounds by Marchetti v. United States, 390 U.S. 39

 (1968) (upholding Gambler’s Occupational Tax provision of the Revenue Act of 1951 “which

 lev[ies] a tax on persons engaged in the business of accepting wagers and require[s] such persons

 to register with the Collector of Internal Revenue”); United States v. Bolatete, 977 F.3d 1022, 1034

 (11th Cir. 2020) (National Firearms Act and the criminal penalty for violating it are justified by

 Congress’s taxing power because a regulatory penalty, coupled with an underlying tax, has long

 been accepted as within the province of Congress’s power to lay and collect taxes).

        In toto, these cases stand for far humbler a proposition than the Government suggests: a tax,

 which necessarily generates revenue, is not unconstitutional simply because it may carry a

 regulatory, deterrent effect on conduct—even where the tax requires some form of registration.



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 The Government has not provided the Court with a single case that suggests Congress’s taxing

 power, even when coupled with the Necessary and Proper Clause, can be used to regulate when

 the statute at issue does not, in some way, generate some revenue. Had the Government cited

 United States v. Kahriger, it may have parroted what the Supreme Court said in dicta:

         Nor do we find the registration requirements of the wagering tax offensive. All that
         is required is the filing of names, addresses, and places of business. This is quite
         general in tax returns. Such data is intimately related to the collection of the tax and
         are “obviously supportable as in aid of a revenue purpose.”

 345 U.S. at 515 (quoting Sonzinksy, 300 U.S. at 506). But even that would not persuade the Court

 that the CTA falls within the purview of its power to tax or do what is necessary and proper to give

 effect to its enumerated powers. The judiciary operates on the basis of stare decisis, not stare dicta.

 Kahriger, like Sonzinsky, does not purport to suggest that Congress may legislate in an unbridled

 manner simply because it might make some tax, someday, easier to collect. In each of the cases

 discussed above, the challenged statute imposed a tax and had some regulatory provision or

 consequence. The CTA does not impose any tax, whatsoever. See 31 U.S.C. § 5336.

         While a tax that generates revenue is not unconstitutional simply because it carries with it

 some regulatory measure, the inverse is not true. Cf. Matthews, 438 F.2d at 717. In other words, a

 regulation is not constitutional simply because it carries with it an incidental tax benefit. This is the

 category that the CTA falls under. The cases above all have one thing in common: the regulation

 being attacked is attached to an underlying tax. The same is not true of the CTA. See 31 U.S.C.

 § 5336. And what little connection the Government suggests the CTA has with the at-large taxing

 system imposed upon Americans is tenuous at best.




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          As Justice Frankfurter said:

          When oblique use is made of the taxing power as to matters which substantively are
          not within the powers delegated to Congress, the Court cannot shut its eyes to what
          is obviously, because designedly, an attempt to control conduct which the
          Constitution left to the States, merely because Congress wrapped the legislation in
          the verbal cellophane of a revenue measure.

 Kahriger, 345 U.S. at 37 (Frankfurter, J. dissenting). And so, in the context of the Government’s

 argument here, that Congress “sense[d]” that the CTA would be “highly useful” in detecting tax

 fraud and would “improve” tax administration in general do not render the CTA constitutionally

 valid. Thus, the cellophane that wraps the CTA is thin. Precedent indicates that “prior cases

 upholding laws under [the Necessary and Proper Clause] involved exercises of authority derivative

 of, and in service to, a granted power.” NFIB v. Sebelius, 567 U.S. at 560 (emphasis added). The

 CTA is not “derivative of” the taxing power simply because the Government points to some

 potential tax purpose the CTA might serve someday. See id.; cf. Helvering, 303 U.S. at 392. Though

 it may be “in service to” taxation as a general matter, because the CTA does not derive from the

 taxing power, it is neither tightly linked,9 nor rationally related to Congress’s power to lay and

 collect taxes. See Comstock, 560 U.S. at 134.

          To hold otherwise would be to unleash a slippery slope that could wreak havoc on the

 structure of our government. “It would be a ‘substantial expansion of federal authority’ to permit

 Congress to bring its taxing power to bear just by collecting ‘useful’ data and allowing tax-

 enforcement officials to access that data.” NSBU v. Yellen, 721 F. Supp. 3d at 1289 (quoting NFIB

 v. Sebelius, 567 U.S. at 560)). While the Government disputes Plaintiff’s assertion that the



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  “When the inquiry is whether a federal law has sufficient links to an enumerated power to be within the scope of
 federal authority, the analysis depends not on the number of links in the congressional-power chain but on the strength
 of the chain.” Comstock, 560 U.S. at 150 (Kennedy, J. concurring).

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 Necessary and Proper Clause “does not provide an independent source of power,” its position

 stands in stark contrast to the Supreme Court’s interpretation that it must be “narrow in scope,”

 or “incidental” to an enumerated power (Dkt. #18 at p. 32). Comstock, 560 U.S. at 148.

        Having determined that the CTA is not justified by the Commerce Clause nor the

 Necessary and Proper Clause in conjunction with some enumerated power, the Court concludes

 that Plaintiffs have met their burden to show a substantial likelihood of success on the merits of

 their Tenth Amendment Challenge. Thus, the Court need not assess Plaintiffs’ as-applied

 challenges or their challenges under the First and Fourth Amendments. Thus, the Court must now

 determine whether the equities favor issuance of an injunction. They do.

        C.      Balance of Equities

        The final step in the inquiry calls upon the Court to determine whether the balance of

 equities favors issuance of an injunction (the third and fourth factors). Nichols, 532 F.3d at 372.

 The third element is whether the harm posed by the CTA and Reporting Rule outweighs any

 damage injunctive relief might inflict on the Government. See Nichols, 532 F.3d at 372. The fourth

 is that injunctive relief will not harm public interest. See id. Where, as here, the Government is the

 defendant, these elements merge. Nken v. Holder, 556 U.S. 418, 420 (2009). On these facts, the

 Court determines that the threatened injury to Plaintiffs outweighs any potential harm to

 Defendants. Without an injunction, Plaintiffs will almost certainly incur substantial,

 incompensable monetary costs and constitutional harm.

        “When a statute is enjoined, the [Government] necessarily suffers the irreparable harm of

 denying the public interest in the enforcement of its laws.” Book People, Inc., 91 F.4th at 341.

 Certainly, the Court acknowledges that the Government seeks to serve admirable ends through the

 CTA and the Reporting Rule. Obviously, the Government has an interest in ferreting out financial

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 crime, protecting foreign commerce and national security, and bringing the United States’s money

 laundering laws into compliance with international standards (whatever those standards may be).

 See 134 Stat. at 6402. The Government argues that, balancing these interests against the

 “speculative” nature of the harm that Plaintiffs face, the Government’s interests should win the

 day (Dkt. #18 at p. 39). Not so. Plaintiffs’ injuries are concrete. And “neither [the Government]

 nor the public has any interest in enforcing a regulation that violates federal law.” Id. (internal

 quotations omitted). No matter how laudable its goals, Congress’s actions must abide by our

 Constitution. This is in the public’s best interest. See id. Indeed, “it is always in the public interest

 to prevent a violation of a party’s constitutional rights.” Jackson Women’s Health Org. v. Currier,

 60 F.3d 448, 458 n.9 (5th Cir. 2014) (cleaned up). Because the CTA and Reporting Rule likely do

 not10 pass muster under the Constitution, it is in the public’s best interest to prevent the

 Government from enforcing the CTA and Reporting Rule. Due to the fast-approaching deadline

 for reporting companies to file BOI reports, the Court cannot render a meaningful decision on the

 merits before Plaintiffs suffer the very harm they seek to avoid. A preliminary injunction will

 preserve the constitutional status quo. Thus, the balance of equities favors issuance of an

 injunction.

         Accordingly, the Court determines that the Plaintiffs have satisfied all elements required

 for the issuance of a preliminary injunction against the CTA and the Reporting Rule.

         D.      Scope of Injunction

         Finally, given that an injunction is appropriate, the Court must determine its scope.

 Plaintiffs seek injunctive relief on behalf of the individual Plaintiffs, as well as all of NFIB’s


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   The word “not” was added as an amendment to fix a typographical error. The Court’s analysis and holding are
 unchanged.

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 members (See Dkt. #6). The Government characterizes Plaintiffs’ request as one for a “nationwide

 injunction” (Dkt. #18 at p. 17). At the Court’s hearing, Plaintiffs suggested that they sought an

 injunction on behalf of only the Plaintiffs before the Court, including the approximately 300,000

 members of NFIB. The Government responded that if the Court were to enjoin the CTA and

 Reporting Rule, the scope of which included NFIB’s members, then the Court would, in practical

 effect, enter a nationwide injunction. The Court agrees with the Government’s point. A

 nationwide injunction is appropriate in this case.

        A preliminary injunction is an “extraordinary equitable remedy.” Currier, 760 F.3d at 452.

 The Constitution vests district courts with “the judicial power of the United States.” U.S. CONST.

 art. III, § 1. “That power is not limited to the district wherein the [C]ourt sits but extends across

 the country. It is not beyond the power of a court, in the appropriate circumstances, to issue a

 nationwide injunction.” Texas v. United States, 809 F.3d 134, 188 (5th Cir. 2015) (upholding

 nationwide injunction in immigration context) (citing Earth Island v. Ruthenbeck, 490 F.3d 687, 699

 (9th Cir. 2006) (upholding nationwide injunction after concluding it was “compelled” by the text

 of Section 706 of the APA), aff’d in part and rev’d on other grounds by Summers v. Earth Island Inst.,

 555 U.S. 488 (2009); Chevron Chem. Co. v. Voluntary Purchasing Grps., 659 F.2d 695, 705–06 (5th

 Cir. 1981) (instructing district court to enter nationwide injunction); Hodgson v. First Fed. Sav. &

 Loan Ass’n, 455 F.2d 818, 826 (5th Cir. 1972) (“[C]ourts should not be loathed to issue injunctions

 of general applicability . . . ‘the injunctive processes are a means of effective general compliance

 with national policy as expressed by Congress, a public policy judges must too carry out—actuated

 by the spirit of the law and not begrudgingly as if it were a newly imposed fiat of a presidium’”

 (quoting Mitchell v. Pidcock, 299 F.3d 281, 287 (5th Cir. 1962))).



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        But simply because the Court may issue a nationwide injunction does not mean it should in

 all cases. As the Supreme Court has held, “the scope of injunctive relief is dictated by the extent

 of the violation established, not by the geographical extent of the Plaintiffs in the class.” Califano

 v. Yamasaki, 442 U.S. 682, 705 (1979). The relief the Court fashions “should be no more

 burdensome to the defendant than necessary to provide complete relief to the plaintiffs.” Id. at

 702. The Fifth Circuit has approved nationwide injunctions in cases involving immigration and the

 APA. See, e.g., Texas v. United States, 809 F.3d at 187–88; Braidwood Mgmt., Inc. v. Becerra,

 104 F.4th 930, 955 n.122 (5th Cir. 2024). It has also held that it is appropriate for a district court

 to enter a nationwide injunction when a plaintiff challenges a federal regulation under the APA.

 See, e.g., Career Colls. & Schs. of Tex., 98 F.4th at 255 (quoting Harmon v. Thornburgh, 878 F.2d

 484, 495 n.21 (D.C. Cir. 1989) (“When a reviewing court determines that agency regulations are

 unlawful, the ordinary result is that the rules are vacated—not that their application to the

 individual petitioners is proscribed.”)); Data Mktg. P’ship LP v. U.S. Dep’t of Labor, 45 F.4th 846,

 851 (5th Cir. 2022); Nat’l Min. Ass’n v. U.S. Army Corps of Eng’rs, 145 F.3d 1399, 1407–08 (D.C.

 Cir. 1998).

        Nonetheless, the Government highlights the controversy regarding nationwide injunctions

 (See Dkt. #18 at p. 40). Nationwide relief is a subject of ongoing debate. See, e.g., Texas v. United

 States, 515 F. Supp. 3d 627, 637–38 (S.D. Tex. 2021) (collecting authority on both sides). One

 concern is that nationwide injunctions curtail the percolation of legal debate among lower courts.

 See Louisiana v. Becerra, 20 F.4th 260, 264 (5th Cir. 2021); CASA de Md., Inc. v. Trump, 971 F.3d

 220, 260 (4th Cir. 2020). Thus, the Government urges the Court to tailor relief only to the parties

 before it because at this very moment, the Eleventh Circuit is considering the constitutionality of



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 the CTA and Reporting Rule. See NSBU v. Yellen, No. 24-10736 (11th Cir.). But this Court’s

 decision will not trench upon the Eleventh Circuit’s authority to render a decision, nor will it stop

 further consideration of the constitutionality of the CTA.

          The Court determines that the injunction should apply nationwide. Both the CTA and the

 Reporting Rule apply nationwide, to “approximately 32.6 million existing reporting companies.”

 See 87 Fed. Reg. at 59585. NFIB’s membership extends across the country. And, as the

 Government states, the Court cannot provide Plaintiffs with meaningful relief without, in effect,

 enjoining the CTA and Reporting Rule nationwide. The extent of the constitutional violation

 Plaintiffs have shown is best served through a nationwide injunction. See Califano, 442 U.S. at 705;

 Career Colls. & Schs. of Tex., 98 F.4th at 256. Given the extent of the violation, the injunction should

 apply nationwide.

          Plaintiffs also urge the Court to enjoin the Reporting Rule under § 706 of the APA (Dkt. #6

 at p. 28), which instructs courts to “hold unlawful and set aside agency action . . . found to be . . .

 contrary to constitutional right[s].” 5 U.S.C. § 706(2)(B). Such vacatur is the “default rule in this

 Circuit.” Cargill v. Garland, 57 F.4th 447, 472 (5th Cir. 2023).11 But § 706 is not the proper vehicle

 to protect Plaintiffs from irreparable harm at this juncture. The Court has determined that the

 CTA and Reporting Rule are likely unconstitutional for purposes of a preliminary injunction. It has

 not made an affirmative finding that the CTA and Reporting Rule are contrary to law or that they

 amount to a violation of the Constitution. Thus, the Court determines that the Government should


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   The Government recognizes that the Fifth Circuit has held that § 706(2) of the APA requires vacatur in certain
 instances (Dkt. #18 at p. 40). Nonetheless, the Government contends that § 706(2) is “merely a rule of decision
 directing the reviewing court to disregard unlawful action in resolving the case before it” rather than a rule that
 “dictate[s] a[] particular remedy” (Dkt. #18 at p. 40). For this proposition, the Government relies on secondary
 authority. But this Court is bound by Fifth Circuit precedent to the contrary. See, e.g., Career Colls. & Schs. of Tex., 98
 F.4th at 255. Nonetheless, the Court does not set aside the Reporting Rule under § 706 as, at this preliminary stage,
 the Court has not determined that the Reporting Rule is actually unconstitutional.

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 be enjoined from enforcing the Reporting Rule and the January 1, 2025, compliance deadline under

 the Reporting Rule should be stayed under § 705 of the APA.

        Under § 705 of the APA, “the reviewing court” may “issue all necessary and appropriate

 process to postpone the effective date of an agency action or to preserve the status or rights pending

 conclusion of the review proceedings” to “the extent necessary to prevent irreparable injury.”

 5 U.S.C. 705. See also, e.g., Texas v. EPA, 829 F.3d 405, 435 (5th Cir. 2016) (“We have the power

 to stay the agency’s action ‘to the extent necessary to prevent irreparable injury.’” (quoting

 § 705)). The Fifth Circuit has interpreted this provision of the APA as akin to a preliminary

 injunction. See Wages & White Lion Invs., L.L.C., 16 F.4th at 1135 (citing Nken, 556 U.S. at 426).

 Thus, the Court may grant relief under § 705 using the same four-pronged test as the Court uses

 for a traditional preliminary injunction. Id. at 1136. Having determined that Plaintiffs have satisfied

 each of the four elements for a preliminary injunction, a stay of the Reporting Rule’s compliance

 deadline pending further order of the Court is appropriate. Just as the injunction against

 enforcement of the CTA should apply nationwide, a stay of the Reporting Rule should apply

 nationwide. “Nothing in the text of Section 705, nor of Section 706, suggests that either

 preliminary or ultimate relief under the APA needs to be limited” to the parties before the Court.

 Career Colls. & Schs. of Tex., 98 F.4th at 255. “Instead . . . the scope of preliminary relief under

 Section 705 aligns with the scope of ultimate relief under Section 706, which is not party-restricted

 and allows a court to ‘set aside’ unlawful agency action.” A stay, coupled with an injunction against

 enforcement of the CTA and Reporting Rule, will maintain the status quo and protect the parties

 from irreparable harm.




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                                           CONCLUSION

         Plaintiffs have satisfied all prerequisites for a preliminary injunction. The Court has

 authority to issue the injunction Plaintiffs seek under Federal Rule of Civil Procedure 65(d). The

 CTA is likely unconstitutional as outside of Congress’s power. Because the Reporting Rule

 implements the CTA, it is likely unconstitutional for the same reasons. The Court has not

 addressed the issue of the CTA’s constitutionality as applied to these Plaintiffs or Plaintiffs’

 challenges under the First and Fourth Amendments. Having determined that Plaintiffs have

 carried their burden, the Court GRANTS Plaintiff’s Motion for a Preliminary Injunction.

 Therefore, the CTA, 31 U.S.C. § 5336 is hereby enjoined. Enforcement of the Reporting Rule,

 31 C.F.R. 1010.380 is also hereby enjoined, and the compliance deadline is stayed under § 705 of

 the APA. Neither may be enforced, and reporting companies need not comply with the CTA’s

 January 1, 2025, BOI reporting deadline pending further order of the Court.

         Federal Rule of Civil Procedure 65(c) provides that “[t]he court may issue a preliminary

 injunction . . . only if the movant gives security in an amount that the court considers proper to pay

 the costs and damages sustained by any party found to have been wrongfully enjoined or

 restrained.” FED. R. CIV. P. 65(c). The Fifth Circuit has held that district courts have discretion to

 “require no security at all.” Kaepa, Inc. v. Achilles Corp., 76 F.3d 624, 628 (5th Cir. 1996). After

 considering the facts and circumstances of this case, the Court finds that security is unnecessary

 and exercises its discretion to not require Plaintiffs to post security.




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           It is therefore ORDERED that Plaintiffs’ Motion for Preliminary Injunction (Dkt. #6) is

     hereby GRANTED.

           IT IS SO ORDERED.
           SIGNED this 5th day of December, 2024.




                                        ___________________________________
                                        AMOS L. MAZZANT
                                        UNITED STATES DISTRICT JUDGE




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